                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

IN RE FIRSTENERGY CORP. SECURITIES        Case No. 2:20-cv-03785-ALM-KAJ
LITIGATION,
                                          Chief Judge Algenon L. Marbley
This document relates to:
                                          Magistrate Judge Kimberly A. Jolson
      ALL ACTIONS.


  MEMORANDUM OF LAW IN SUPPORT OF THE FIRSTENERGY DEFENDANTS’
        MOTION TO DISMISS THE CONSOLIDATED COMPLAINT

                                         Geoffrey J. Ritts, Trial Attorney (0062603)
                                         Robert S. Faxon (0059678)
                                         JONES DAY
                                         North Point
                                         901 Lakeside Avenue
                                         Cleveland, OH 44114-1190
                                         Telephone: (216) 586-3939
                                         Facsimile: (216) 579-0212
                                         Email: gjritts@jonesday.com
                                         Email: rfaxon@jonesday.com

                                         Marjorie P. Duffy (0083452)
                                         Jordan M. Baumann (0093844)
                                         JONES DAY
                                         325 John H. McConnell Boulevard, Suite 600
                                         Columbus, OH 43215-2673
                                         Telephone: (614) 469-3939
                                         Facsimile: (614) 461-4198
                                         Email: mpduffy@jonesday.com
                                         Email: jbaumann@jonesday.com

                                         Attorneys for Defendants FirstEnergy Corp.,
                                         James F. Pearson, Steven E. Strah, K. Jon
                                         Taylor, Jason J. Lisowski, George M. Smart,
                                         Paul T. Addison, Michael J. Anderson, Steven
                                         J. Demetriou, Julia L. Johnson, Donald T.
                                         Misheff, Thomas N. Mitchell, James F. O’Neil
                                         III, Christopher D. Pappas, Sandra Pianalto,
                                         Luis A. Reyes, Jerry Sue Thornton, and Leslie
                                         M. Turner
                                                    TABLE OF CONTENTS

                                                                                                                                          Page

TABLE OF AUTHORITIES ..................................................................................................... vi
STATEMENT REQUESTING ORAL ARGUMENT ........................................................ xviii
INTRODUCTION........................................................................................................................ 1
RELEVANT BACKGROUND ................................................................................................... 2
          A.         FirstEnergy And Its Exercise Of First Amendment Rights In 2017 And
                     2018........................................................................................................................ 2
          B.         2019 Objections To Bankruptcy Plan Of Reorganization ..................................... 4
          C.         HB6’s Introduction In 2019 And Its Subsequent Enactment................................. 4
          D.         The Government’s Complaint In 2020 Against Others For Their Alleged
                     Misuse of Generation Now’s Funds ...................................................................... 5
          E.         Shareholders And Consumers Sue ......................................................................... 6
          F.         This Lawsuit........................................................................................................... 6
LEGAL STANDARDS ................................................................................................................ 7
     Demanding pleading standards apply here. Plaintiffs must satisfy Rule 9(b) for the claims
     under Rule 10b-5. In re Nat’l Century Fin. Enters., Inc., Inv. Litig., 2006 WL 469468, at *21
     (S.D. Ohio Feb. 27, 2006) (“Nat’l Century I”). The PSLRA imposes additional requirements
     to plead misstatements, Ind. State Dist. Council of Laborers & Hod Carriers Pension &
     Welfare Fund v. Omnicare, Inc., 583 F.3d 935, 942 (6th Cir. 2009) (“Omnicare I”), and
     “[e]xacting pleading requirements for pleading scienter.” Frank v. Dana Corp., 547 F.3d
     564, 570 (6th Cir. 2008). Because the Complaint’s claims under the Securities Act are based
     on fraudulent conduct, they too are subject to Rule 9(b). Omnicare I, 583 F.3d at 948.
ARGUMENT ................................................................................................................................ 9
I.        The Complaint Fails To Plead Any False Statement Or Deceptive Act With
          Particularity...................................................................................................................... 9
          A.         The Complaint Fails To Plead With Particularity Any Underlying
                     Illegal Acts ............................................................................................................ 9
        The Complaint alleges (1) FirstEnergy’s statements about legal compliance and internal
        controls were misleading because they did not disclose the “Bailout Scheme,” and (2) the
        “Bailout Scheme” was a scheme to defraud investors in violation of Rule 10b-5(a) and (c).
        But the Complaint fails to plead underlying illegal acts with particularity as required by the
        PSLRA. Gamm v. Sanderson Farms Inc., 944 F.3d 455, 465 (2d Cir. 2019).




                                                                       -i-
               1.        The Complaint Never Identifies Any Law Or Regulation
                         Supposedly Violated By Any Defendant .............................................. 11
           At a minimum, pleading an underlying illegal act with particularity requires
           identifying a law or regulation that the underlying conduct violated. Dailey v.
           Medlock, 551 F. App’x 841, 849 (6th Cir. 2014). The Complaint does not.
               2.        The Factual Allegations Do Not Support Any Legal Theory To
                         Which The Complaint Even Alludes .................................................... 12
           Even if the Complaint had identified a statute or regulation that Defendants
           supposedly violated, the theories one might read into it—bribery, campaign-finance
           violations, RICO violations, or conspiracy—are not supported by particularized facts.
           A political contribution is a “bribe” only if payments are made in return for an
           explicit promise by the official to perform or not to perform a specific official act.
           McCormick v. United States, 500 U.S. 257, 273 (1991); Evans v. United States, 504
           U.S. 255, 269 (1992); United States v. Terry, 707 F.3d 607, 612 (6th Cir. 2013); Huff
           v. FirstEnergy Corp., 972 F. Supp. 2d 1018, 1034 (N.D. Ohio 2013). The Complaint
           pleads no specific facts about any such agreement.
           Plaintiffs allege “[i]llegally large and concealed campaign contributions,” but do not
           identify any specific “contribution,” explain how it violated a law or regulation as to
           size or disclosure, or connect specific individuals to it. Anonymous contributions to
           Section 501(c)(4) organizations are legal. NorCal Tea Party Patriots v. Internal
           Revenue Serv., 2016 WL 8202966, at *3 (S.D. Ohio Nov. 22, 2016).
           There are no particularized facts regarding any Defendant’s participation in
           racketeering activity as defined by the statute, let alone a pattern of racketeering
           activity. Huff, 972 F. Supp. 2d at 1034-35. Conspiracy requires “an agreement to
           commit an unlawful act.” Iannelli v. United States, 420 U.S. 770, 777 (1975). The
           Complaint has no particularized facts about any such agreement.
II.   The Failure To State A Claim With Respect To Statements Or Actions In
      2017 and 2018 Is Especially Glaring ............................................................................ 24
      A.       The Complaint Fails To Plead Contemporaneous Falsity As To
               Statements In 2017 And 2018 ........................................................................... 24
               1.        There Is No Liability For “Fraud By Hindsight.” .............................. 24
           There is no “fraud by hindsight.” Sinay v. Lamson & Sessions Co., 948 F.2d 1037,
           1042 (6th Cir. 1991); Dailey, 551 F. App’x at 846. A statement is actionable only if
           it was false or misleading at the time it was made. Albert Fadem Tr. v. Am. Elec.
           Power Co., Inc., 334 F. Supp. 2d 985, 1025 (S.D. Ohio 2004) (Marbley, C.J.).
               2.        The Complaint Lacks Particularized Facts Showing That Any
                         Statement In 2017 Or 2018 Was False When Made ........................... 25
           Many of the purportedly misleading statements cannot possibly serve as predicates
           for liability because they were made in 2017 and 2018—well before the alleged
           misconduct relating to the introduction and adoption of HB6 in 2019. Dailey, 551 F.
           App’x at 846; Albert Fadem Tr., 334 F. Supp. 2d at 1025.

                                                         -ii-
          B.        The Complaint Lacks Particularized Facts Showing The Existence Of
                    A Deceptive “Scheme” In 2017 Or 2018 .......................................................... 29
       Just as there can be no “fraud-by-hindsight” for misstatements, conduct cannot form the basis
       of a scheme liability claim unless it is inherently deceptive when performed and directly
       connected to specific securities transactions. In re Nat’l Century Fin. Enters., Inc. Fin. Inv.
       Litig., 553 F. Supp. 2d 902, 909 (S.D. Ohio 2008) (“Nat’l Century II”). The alleged conduct
       in 2017 and 2018—a flight on a corporate jet, a newspaper article, campaign or political
       contributions, and contacts with Householder or his associates—is not “market activity” that
       was directly connected to the sale of securities. Nat’l Century I, 2006 WL 469468, at *21.
       Nor is any of that conduct “in itself deceptive.” Nat’l Century II, 553 F. Supp. 2d at 909.
III.      The Complaint Fails To Plead A Strong Inference Of Scienter As To The
          Exchange Act Claims ..................................................................................................... 30
          A.        Plaintiffs Must Plead Particularized Facts Showing Actual Knowledge ...... 30
       Scienter is an element of both a misrepresentation claim under Rule 10b-5(b) and a scheme
       liability claim under parts (a) and (c). Konkol v. Diebold, Inc., 590 F.3d 390, 396 (6th Cir.
       2009); Nat’l Century I, 2006 WL 469468, at *21. Where, as here, an alleged misstatement or
       omission concerns “soft information,” a plaintiff must plead facts showing the statement was
       “made with knowledge of its falsity.” In re Omnicare, Inc. Sec. Litig., 769 F.3d 455, 470
       (6th Cir. 2014). Actual knowledge is also required for a scheme liability claim because Rule
       10b-5(a) and (c) prohibits employing a “device,” “scheme” or “artifice to defraud.” See
       Emps. Ret. Sys. of City of St. Louis v. Jones, 2021 WL 1890490, at *13 (S.D. Ohio May 11,
       2021).
          B.        Plaintiffs’ Failure To Plead Any Underlying Illegal Act With
                    Particularity Precludes A Strong Inference Of Scienter ................................ 33
       The failure to plead illegal underlying acts with particularity precludes a strong scienter
       inference under even a recklessness standard, far less the applicable standard of actual
       knowledge. Das v. Rio Tinto, PLC, 332 F. Supp. 3d 786, 814 (S.D.N.Y. 2018); Albert
       Fadem Tr., 334 F. Supp. 2d at 1026; Zaluski, 527 F.3d at 574.
          C.        The Complaint’s Allegations Purportedly Showing Scienter Fall Short ...... 36
       Scienter must be pleaded, with particularity, as to each Exchange Act Defendant. In re Huffy
       Corp. Sec. Litig., 577 F. Supp. 2d 968, 986 (S.D. Ohio 2008). As to some Defendants,
       Plaintiffs do not even try; as to the others, they offer insufficient allegations.
                    1.        Allegations About After-The-Fact “Admissions,” Employment
                              Actions, And Lawsuits Do Not Plead Scienter .................................... 37
               The after-the-fact actions identified in the Complaint cannot show scienter. The
               purported “admissions” do not discuss illegal conduct, but instead indicate that
               violations of internal policies occurred, which does not suffice. Das, 332 F. Supp. 3d
               at 815. Guilty pleas by third parties cannot raise a scienter inference as to any
               Defendant. Glazer Cap. Mgmt., LP v. Magistri, 549 F.3d 736, 748 (9th Cir. 2008);
               Kushner v. Beverly Enters., Inc., 317 F.3d 820, 829 (8th Cir. 2003). Nor can
               employment actions. Das, 332 F. Supp. 3d at 814-15; Fla. Carpenters Reg’l Council


                                                                -iii-
              Pension Plan v. Eaton Corp., 964 F. Supp. 2d 875, 889 (N.D. Ohio 2013), aff’d sub
              nom. In re KBC Asset Mgmt. N.V., 572 F. App’x 356 (6th Cir. 2014).
                 2.         Allegations About A “Direct Participation” And A “Cover Up”
                            Do Not Plead Scienter ............................................................................ 40
              The assertions of “direct participation” in the supposed scheme attempt to impute
              scienter based on employment title in the face of binding precedent foreclosing that
              inference. PR Diamonds, 364 F.3d at 688; Konkol, 590 F.3d at 397.
                 3.         Allegations About “Magnitude” Of Contributions To
                            Generation Now Do Not Plead Scienter ............................................... 43
              Plaintiffs’ attempt to plead scienter based on “magnitude” ignores Sixth Circuit
              precedent. Fidel v. Farley, 392 F.3d 220, 231 (6th Cir. 2004); La. Sch. Emp’s. Ret.
              Sys., 622 F.3d at 483-84.
                 4.         Allegations About Capital, Credit Ratings, And Performance-
                            Based Compensation Do Not Plead Scienter ....................................... 45
              Allegations about debt-and-equity issuances, a desire to maintain a good credit rating,
              and performance-based compensation concern generic motives that do not support an
              inference of scienter. PR Diamonds, 364 F.3d at 690; In re EveryWare Global, Inc.
              Sec. Litig., 175 F. Supp. 3d 837, 859 (S.D. Ohio 2016) (Marbley, C.J.).
                 5.         Allegations About Stock Trading Do Not Plead Scienter................... 46
              The mere sale of stock does not support an inference of scienter. Ind. Elec. Workers’
              Pension Tr. Fund IBEW v. Shaw Grp., Inc., 537 F.3d 527, 543 (5th Cir. 2008).
              Several Officer Defendants increased their holdings during the class period, which
              undermines any inference of scienter. Smallen v. Western Union Co., 950 F.3d 1297,
              1310-11 (10th Cir. 2020); Fire & Police Pension Ass’n of Colo. v. Abiomed, Inc., 778
              F.3d 228, 246 (1st Cir. 2015).
IV.      The Complaint Fails To State A Claim For Scheme Liability ................................... 49
         A.      The Complaint Fails To Plead That The Alleged Scheme Occurred
                 “In Connection With” The Purchase Or Sale Of Any Security .................... 49
      To be actionable, a “scheme” must have occurred “in connection with the purchase or sale of
      securities.” Nat’l Century I, 2006 WL 469468, at *21; Hawaii Ironworkers Annuity Tr. Fund
      v. Cole, 296 F.R.D. 549, 553-54 (N.D. Ohio 2013). 10b-5(a) and (c) concern “market
      manipulation,” which requires market activity, such as wash sales, matched orders, or rigged
      prices. In re Cannavest Corp. Sec. Litig., 307 F. Supp. 3d 222, 249 (S.D.N.Y. 2018). The
      Complaint alleges no facts about any market activity by any Defendant, and never ties any of
      its allegations about “bribery” or campaign contributions to any securities transaction.
      Menaldi v. Och-Ziff Cap. Mgmt. Grp. LLC, 277 F. Supp. 3d 500, 518 (S.D.N.Y. 2017)
         B.      The Complaint Fails To Plead Reliance On Any Allegedly Deceptive
                 Conduct ............................................................................................................... 52
      A scheme-liability claim fails without reliance on the deceptive acts that constitute the
      scheme. Stoneridge Inv. Partners, LLC v. Sci.-Atlanta, 552 U.S. 148, 159 (2008); Nat’l


                                                                -iv-
      Century II, 553 F. Supp. 2d at 911. If the alleged scheme is not disclosed until after the class
      period, as here, there is no reliance. Hawaii Ironworkers, 296 F.R.D. at 555.
          C.         The Complaint Fails To Plead With Particularity That The Alleged
                     Underlying Acts Were Inherently Deceptive ................................................... 55
      To state a scheme-liability claim, Plaintiffs must allege that Defendants engaged in conduct
      that is “in itself deceptive.” Nat’l Century II, 553 F. Supp. 2d at 909. Contributing to a
      501(c)(4) organization is not inherently deceptive, so this claim fails.
          D.         The Complaint Fails To Plead With Particularity That Every
                     Exchange Act Defendant Engaged In An Inherently Deceptive Act............. 58
      The Complaint fails to state a claim under Rule 10b-5(a) and (c) as to those Defendants who
      are not alleged with particularity to have participated in the alleged scheme. Nat’l Century
      II, 553 F. Supp. 2d at 911; Pub. Pension Fund Grp. v. KV Pharm. Co., 679 F.3d 972, 986
      (8th Cir. 2012). This includes at least Taylor, Strah, and Pearson.
V.        The Complaint Fails To State A Claim For Misstatement Liability For
          Additional Reasons ........................................................................................................ 59
          A.         The Complaint Fails To Plead Falsity As To Statements Of Opinion .......... 60
      Opinions can give rise to liability only if the speaker did not hold the belief professed or had
      specific contradictory information. Omnicare, Inc. v. Laborers Dist. Council Const. Indus.
      Pension Fund, 575 U.S. 175, 183-97 (2015). The statements about assessments of
      compliance efforts and the efficacy of internal controls, the merits of HB6, and corporate
      aims and policies all are opinions, but the Complaint has no specific facts showing that any
      Defendant did not believe them. Id.at 179-80; Sofamor Danek, 123 F.3d at 402.
          B.         The Complaint Fails To Plead An Actionable Omission................................ 63
      Because Plaintiffs fail to plead illegal conduct with particularity, they cannot allege that
      Defendants violated the securities laws by not disclosing those purported acts. Dailey, 551 F.
      App’x at 846; Zaluski, 527 F.3d at 575. Statements about codes of conduct were not
      misleading because a “declaration of corporate aspirations” is “not actionable” as a matter of
      law. Bondali v. Yum! Brands, Inc., 620 F. App’x 483, 490 (6th Cir. 2015). The generalized
      statements of compliance were not rendered misleading by the nondisclosure of the
      underlying allegedly illegal acts. Dailey, 551 F. App’x at 849.
VI.       The Section 12(a)(2) Claim Against The Non-Management Directors Must Be
          Dismissed Because They Are Not Statutory Sellers .................................................... 66
      The Section 12(a)(2) claims against the outside directors fail because the Complaint does
      not allege they were “statutory sellers.” EveryWare, 175 F. Supp. 3d at 868-69.
VII.      The Complaint Fails To State A Claim For Control Liability................................... 67
      The Complaint’s failure to state a claim for primary liability requires dismissal of the
      claims under § 20(a) of the Exchange Act and § 15 of the Securities Act . IBEW Loc. No.
      58 Annuity Fund v. EveryWare Glob., Inc., 849 F.3d 325, 328 (6th Cir. 2017).
CONCLUSION .......................................................................................................................... 67


                                                                  -v-
                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

CASES

ACA Fin. Guar. Corp. v. Advest, Inc.,
  512 F.3d 46 (1st Cir. 2008) ........................................................................................................8

Affco Invs. 2001, L.L.C. v. Proskauer Rose, L.L.P.,
    625 F.3d 185 (5th Cir. 2010) ...................................................................................................54

Albert Fadem Tr. v. Am. Elec. Power Co., Inc.,
   334 F. Supp. 2d 985 (S.D. Ohio 2004) ............................................................................ passim

Avon Pension Fund v. GlaxoSmithKline PLC,
   343 F. App’x 671 (2d Cir. 2009) .............................................................................................48

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) .................................................................................................................15

Bondali v. Yum! Brands, Inc.,
   620 F. App’x 483 (6th Cir. 2015) ................................................................................11, 64, 65

Borsellino v. Goldman Sachs Grp., Inc.,
   477 F.3d 502 (7th Cir. 2007) .....................................................................................................8

Cal. Pub. Empls.’ Ret. Sys. v. Chubb Corp.,
   394 F.3d 126 (3d Cir. 2004).......................................................................................................8

Carvelli v. Ocwen Fin. Corp.,
   934 F.3d 1307 (11th Cir. 2019) ...............................................................................................65

Citizens United v. FEC,
    558 U.S. 310 (2010) ...........................................................................................................13, 35

City of Dearborn Heights Act 345 Police & Fire Ret. Sys. v. Align Tech., Inc.,
    856 F.3d 605 (9th Cir. 2017) ...................................................................................................60

City of Pontiac Gen. Emps. Ret. Sys. v. Stryker Corp.,
    865 F. Supp. 2d 811 (W.D. Mich. 2012) ...........................................................................32, 62

Conley v. Gibson,
   355 U.S. 41 (1957) ...................................................................................................................15

                                                                  -vi-
Corsair Capital Partners, L.P. v. Wedbush Morgan Secs., Inc.,
   24 F. App’x 795 (9th Cir. 2001) ..............................................................................................50

Cosby v. KPMG, LLP,
   2018 WL 3723712 (E.D. Tenn. Aug. 2, 2018) ........................................................................54

Cozzarelli v. Inspire Pharm. Inc.,
   549 F.3d 618 (4th Cir. 2008) .....................................................................................................8

Craftmatic Sec. Litig. v. Kraftsow,
   890 F.2d 628 (3d Cir. 1989).....................................................................................................66

D.E. & J Ltd. P’ship v. Conaway,
   284 F. Supp. 2d 719 (E.D. Mich. 2003)...................................................................................61

Dailey v. Medlock,
   551 F. App’x 841 (6th Cir. 2014) .................................................................................... passim

Das v. Rio Tinto, PLC,
   332 F. Supp. 3d 786 (S.D.N.Y. 2018).............................................................................. passim

Davisson v. Ford Motor Co.,
   2014 WL 4377792 (S.D. Ohio Sept. 3, 2014) ...........................................................................8

Dimora v. United States,
   973 F.3d 496 (6th Cir. 2020) ...................................................................................................28

Dobina v. Weatherford Int’l Ltd.,
   909 F. Supp. 2d 228 (S.D.N.Y. 2012)......................................................................................61

Emps. Ret. Sys. of the City of St. Louis v. Jones,
  2021 WL 1890490 (S.D. Ohio May 11, 2021) ........................................................................33

Evans v. United States,
   504 U.S. 255 (1992) ...........................................................................................................14, 15

Evanston Ins. Co. v. Desert State Life Mgmt.,
   484 F. Supp. 3d 987 (D.N.M. 2020) ........................................................................................20

Ferron v. SubscriberBase Holdings, Inc.,
   2009 WL 650731 (S.D. Ohio Mar. 11, 2009) ............................................................................8

Fidel v. Farley,
   392 F.3d 220 (6th Cir. 2004) ...................................................................................................43

                                                                 -vii-
Fire & Police Pension Ass’n of Colo. v. Abiomed, Inc.,
   778 F.3d 228 (1st Cir. 2015) ....................................................................................................48

First Nat’l Bank of Bos. v. Bellotti,
    435 U.S. 765 (1978) ...........................................................................................................13, 18

Fla. Carpenters Reg’l Council Pension Plan v. Eaton Corp.,
   964 F. Supp. 2d 875 (N.D. Ohio 2013),
   aff’d sub nom. In re KBC Asset Mgmt. N.V., 572 F. App’x 356 (6th Cir. 2014) .....................39

Forman v. Meridian Bioscience, Inc.,
   367 F. Supp. 3d 674 (S.D. Ohio 2019) ....................................................................................65

Frank v. Dana Corp.,
   547 F.3d 564 (6th Cir. 2008) .................................................................................................7, 9

Friedman v. Endo Int’l PLC,
    2018 WL 446189 (S.D.N.Y. Jan. 16, 2018) ......................................................................30, 35

FTC v. Super. Ct. Trial Lawyers Ass’n,
  493 U.S. 411 (1990) .................................................................................................................13

Gamm v. Sanderson Farms Inc.,
  944 F.3d 455 (2d Cir. 2019)............................................................................................. passim

Glaser v. The9, Ltd.,
   772 F. Supp. 2d 573 (S.D.N.Y. 2011)......................................................................................48

Glazer Cap. Mgmt., LP v. Magistri,
   549 F.3d 736 (9th Cir. 2008) ...................................................................................................38

Gordon v. Elite Consulting Grp. L.L.C.,
   2009 WL 4042911 (E.D. Mich. Nov. 19, 2009) ......................................................................53

Gordon v. Royal Palm Real Est. Inv. Fund I,
   2020 WL 2836312 (E.D. Mich. May 31, 2020).......................................................................57

H.J. Inc. v. Nw. Bell Tel. Co.,
   492 U.S. 229 (1989) .................................................................................................................22

Halbert v. Credit Suisse AG,
   402 F. Supp. 3d 1288 (N.D. Ala. 2019) ...................................................................................33



                                                                 -viii-
Hampton v. root9B Techs., Inc.,
  897 F.3d 1291 (10th Cir. 2018) ...............................................................................................60

Hawaii Ironworkers Annuity Tr. Fund v. Cole,
  296 F.R.D. 549 (N.D. Ohio 2013) .....................................................................................49, 54

Hogan v. Pilgrim’s Pride Corp.,
   2018 WL 1316979 (D. Colo. Mar. 14, 2018) ..........................................................................10

Huff v. FirstEnergy Corp.,
   972 F. Supp. 2d 1018 (N.D. Ohio 2013).......................................................................... passim

Iannelli v. United States,
   420 U.S. 770 (1975) .................................................................................................................23

In re Alstom SA,
    406 F. Supp. 2d 433 (S.D.N.Y. 2005)..........................................................................30, 56, 58

In re AT&T/DirecTV Now Sec. Litig.,
    480 F. Supp. 3d 507 (S.D.N.Y. 2020)......................................................................................56

In re AXIS Capital Holdings Ltd. Sec. Litig.,
    456 F. Supp. 2d 576 (S.D.N.Y. 2006)..........................................................................10, 21, 35

In re Banco Bradesco S.A. Sec. Litig.,
    277 F. Supp. 3d 600 (S.D.N.Y. 2017)..........................................................................29, 64, 65

In re Braskem S.A. Sec. Litig.,
    246 F. Supp. 3d 731 (S.D.N.Y. 2017)................................................................................63, 64

In re Burlington Coat Factory Sec. Litig.,
    114 F.3d 1410 (3d Cir. 1997)...................................................................................................47

In re Cannavest Corp. Sec. Litig.,
    307 F. Supp. 3d 222 (S.D.N.Y. 2018)................................................................................50, 52

In re Century Bus. Servs. Sec. Litig.,
    2002 WL 32254513 (N.D. Ohio Jun. 27, 2002) ......................................................................25

In re Ceridian Corp. Sec. Litig.,
    542 F.3d 240 (8th Cir. 2008) ...................................................................................................40

In re Comshare Inc. Sec. Litig.,
    183 F.3d 542 (6th Cir. 1999) .......................................................................................31, 34, 46

                                                                  -ix-
In re Diebold Sec. Litig.,
    2008 WL 3927467 (N.D. Ohio Aug. 22, 2008) .......................................................................43

In re DNTW Chartered Accountants Sec. Litig.,
    172 F. Supp. 3d 675 (S.D.N.Y. 2016)......................................................................................38

In re DVI, Inc. Sec. Litig.,
    919 F. Supp. 2d 498 (E.D. Pa. 2013) .......................................................................................54

In re Dynagas LNG Partners LP Sec. Litig.,
    2020 WL 6947521 (S.D.N.Y. Nov. 25, 2020) .........................................................................60

In re EveryWare Global, Inc. Sec. Litig.,
    175 F. Supp. 3d 837 (S.D. Ohio 2016), aff’d sub nom. IBEW Loc. No. 58
    Annuity Fund v. EveryWare Glob., Inc., 849 F.3d 325 (6th Cir. 2017)........................... passim

In re Extreme Networks, Inc. Secs. Litig.,
    2018 WL 1411129 (N.D. Cal. Mar. 21, 2018) .........................................................................39

In re First Union Corp. Sec. Litig.,
    128 F. Supp. 2d 871 (W.D.N.C. 2001) ....................................................................................48

In re Ford Motor Co., Sec. Litig.,
    381 F.3d 563 (6th Cir. 2004) ...................................................................................................62

In re Goodyear Tire & Rubber Co. Sec. Litig.,
    436 F. Supp. 2d 873 (N.D. Ohio 2006)....................................................................................46

In re Huffy Corp. Sec. Litig.,
    577 F. Supp. 2d 968 (S.D. Ohio 2008) ....................................................................................36

In re Huntington Bancshares Inc. Sec. Litig.,
    674 F. Supp. 2d 951 (S.D. Ohio 2009) ............................................................................ passim

In re Immucor, Inc., Sec. Litig.,
    2011 WL 2619092 (N.D. Ga. Jun. 30, 2011).....................................................................10, 17

In re JP Morgan Chase Sec. Litig.,
    363 F. Supp. 2d 595 (S.D.N.Y. 2005)......................................................................................17

In re Lululemon Sec. Litig.,
    14 F. Supp. 3d 553 (S.D.N.Y. 2014)........................................................................................25



                                                                -x-
In re Mirant Corp. Sec. Litig.,
    2009 WL 48188 (N.D. Ga. Jan. 7, 2009) ...........................................................................11, 12

In re Nat’l Auto Credit, Inc. Sec. Litig.,
    1999 WL 33919791 (N.D. Ohio Oct. 12, 1999) ......................................................................27

In re Nat’l Century Fin. Enters., Inc. Fin. Inv. Litig.,
    553 F. Supp. 2d 902 (S.D. Ohio 2008) ............................................................................ passim

In re Nat’l Century Fin. Enters., Inc., Inv. Litig.,
    2006 WL 469468 (S.D. Ohio Feb. 27, 2006)................................................................... passim

In re NationsMart Corp. Sec. Litig.,
    130 F.3d 309 (8th Cir. 1997) .....................................................................................................8

In re Nature’s Sunshine Prod. Sec. Litig.,
    2008 WL 4442150 (D. Utah Sept. 23, 2008) ...........................................................................53

In re NVIDIA Corp. Sec. Litig.,
    768 F.3d 1046 (9th Cir. 2014) .................................................................................................65

In re Omnicare, Inc. Sec. Litig.,
    769 F.3d 455 (6th Cir. 2014) .............................................................................................31, 32

In re Parmalat Sec. Litig.,
    376 F. Supp. 2d 472 (S.D.N.Y. 2005)................................................................................30, 56

In re Parmalat Sec. Litig.,
    414 F. Supp. 2d 428 (S.D.N.Y. 2006)......................................................................................31

In re Refco, Inc. Sec. Litig.,
    609 F. Supp. 2d 304 (S.D.N.Y. 2009)......................................................................................54

In re Rigel Pharm., Inc. Sec. Litig.,
    697 F.3d 869 (9th Cir. 2012) .....................................................................................................8

In re Smith Barney Transfer Agent Litig.,
    884 F. Supp. 2d 152 (S.D.N.Y. 2012)......................................................................................53

In re Sofamor Danek Grp., Inc.,
    123 F.3d 394 (6th Cir. 1997) .............................................................................................32, 61

In re Sun Healthcare Group, Inc. Sec. Litig.,
    181 F. Supp. 2d 1283 (D.N.M. 2002) ......................................................................................48

                                                                 -xi-
In re TransDigm Grp., Inc. Sec. Litig.,
    440 F. Supp. 3d 740 (N.D. Ohio 2020)....................................................................................64

In re Tupperware Brands Corp. Secs. Litig.,
    2021 WL 247870 (M.D. Fla. Jan. 25, 2021) ............................................................................33

In re Tyson Foods, Inc. Sec. Litig.,
    275 F. Supp. 3d 970 (W.D. Ark. 2017)........................................................................10, 35, 48

Ind. Elec. Workers’ Pension Tr. Fund IBEW v. Shaw Grp., Inc.,
    537 F.3d 527 (5th Cir. 2008) ...................................................................................................47

Ind. State Dist. Council of Laborers & Hod Carriers Pension & Welfare Fund v.
    Omnicare, Inc.,
    583 F.3d 935 (6th Cir. 2009) ...........................................................................................7, 8, 32

Iron Workers Local No. 25 Pension Fund v. Oshkosh Corp.,
    2010 WL 1287058 (E.D. Wis. Mar. 30, 2010) ........................................................................50

Katz v. Image Innovations Holdings, Inc.,
   542 F. Supp. 2d 269 (S.D.N.Y. 2008)......................................................................................53

Konkol v. Diebold, Inc.,
   590 F.3d 390 (6th Cir. 2009) ........................................................................................... passim

Kushner v. Beverly Enters., Inc.,
   317 F.3d 820 (8th Cir. 2003) .............................................................................................34, 38

La. Mun. Police Emps. Ret. Sys. v. KPMG, LLP,
    2012 WL 3903335 (N.D. Ohio Aug. 31, 2012) .......................................................................49

La. Sch. Emps. Ret. Sys. v. Ernst & Young, LLP,
    622 F.3d 471 (6th Cir. 2010) .............................................................................................37, 43

Lentell v. Merrill Lynch & Co., Inc.,
   396 F.3d 161 (2d Cir. 2005).....................................................................................................50

Ley v. Visteon Corp.,
   543 F.3d 801 (6th Cir. 2008), abrogated on other grounds by
   Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27 (2011) ........................................42, 44, 46

Local 295/Local 851 IBT Emp’r Grp. Pension Tr. & Welfare Fund v.
   Fifth Third Bancorp,
   731 F. Supp. 2d 689 (S.D. Ohio 2010) ............................................................................8, 9, 45

                                                                -xii-
Matrixx Initiatives, Inc. v. Siracusano,
   563 U.S. 27 (2011) ...................................................................................................................63

McCormick v. United States,
  500 U.S. 257 (1991) ...........................................................................................................14, 18

McCutcheon v. FEC,
  572 U.S. 185 (2014) .................................................................................................................13

McDonnell v. United States,
  136 S. Ct. 2355 (2016) .......................................................................................................14, 28

Melder v. Morris,
   27 F.3d 1097 (5th Cir. 1994) .....................................................................................................8

Menaldi v. Och-Ziff Cap. Mgmt. Grp. LLC,
  277 F. Supp. 3d 500 (S.D.N.Y. 2017)....................................................................49, 50, 51, 55

Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC,
  164 F. Supp. 3d 568 (S.D.N.Y. 2016).............................................................................. passim

Mierzwa v. Safe & Secure Self Storage, LLC,
   493 F. App’x 273 (3d Cir. 2012) .............................................................................................24

Moon v. Harrison Piping Supply,
  465 F.3d 719 (6th Cir. 2006) ...................................................................................................22

NAACP v. Alabama,
  357 U.S. 449 (1958) .................................................................................................................13

Nardy v. Chipotle Mexican Grill, Inc.,
   2019 WL 3297467 (D. Colo. Mar. 29, 2019) ..........................................................................65

NorCal Tea Party Patriots v. Internal Revenue Serv.,
   2016 WL 8202966 (S.D. Ohio Nov. 22, 2016)..............................................................3, 21, 34

Novak v. Kasaks,
   216 F.3d 300 (2d Cir. 2000).....................................................................................................25

Omnicare, Inc. v. Laborers Dist. Council Const. Indus. Pension Fund,
  575 U.S. 175 (2015) .....................................................................................................60, 61, 62

Oran v. Stafford,
   226 F.3d 275 (3d Cir. 2000).....................................................................................................65

                                                                 -xiii-
Pac. Inv. Mgmt. Co. LLC v. Mayer Brown LLP,
   603 F.3d 144 (2d Cir. 2010).....................................................................................................53

PR Diamonds, Inc. v. Chandler,
   364 F.3d 671 (6th Cir. 2004) .......................................................................................31, 40, 45

Pub. Pension Fund Grp. v. KV Pharm. Co.,
   679 F.3d 972 (8th Cir. 2012) .............................................................................................10, 58

Pugh v. Tribune Co.,
   521 F.3d 686 (7th Cir. 2008) .............................................................................................47, 55

Roeder v. Alpha Indus., Inc.,
   814 F.2d 22 (1st Cir. 1987) ......................................................................................................63

Rombach v. Chang,
   355 F.3d 164 (2d Cir. 2004)...................................................................................................8, 9

Rosenzweig v. Azurix Corp.,
   332 F.3d 854 (5th Cir. 2003) ...................................................................................................66

Russo v. Bruce,
   777 F. Supp. 2d 505 (S.D.N.Y. 2011)......................................................................................45

S.E.C. v. Goldstone,
    952 F. Supp. 2d 1060 (D.N.M. 2013) ......................................................................................56

S.E.C. v. Kelly,
    817 F. Supp. 2d 340 (S.D.N.Y. 2011)................................................................................30, 59

S.E.C. v. Lucent Techs., Inc.,
    610 F. Supp. 2d 342 (D.N.J. 2009) ....................................................................................56, 57

S.E.C. v. Narayan,
    2017 WL 4652063 (N.D. Tex. Aug. 28, 2017) ............................................................51, 56, 57

S.E.C. v. Sierra Brokerage Servs., Inc.,
    608 F. Supp. 2d 923 (S.D. Ohio 2009), aff’d, 712 F.3d 321 (6th Cir. 2013) ...........................50

S.E.C. v. St. Anselm Expl. Co.,
    936 F. Supp. 2d 1281 (D. Colo. 2013) .....................................................................................56

Salinas v. United States,
    522 U.S. 52 (1997) .......................................................................................................22, 23, 29

                                                                -xiv-
Schiro v. Cemex, S.A.B. de C.V.,
   438 F. Supp. 3d 194 (S.D.N.Y. 2020).............................................................................. passim

Sears v. Likens,
   912 F.2d 889 (7th Cir. 1990) .....................................................................................................8

Shaw v. Digital Equip. Corp.,
   82 F.3d 1194 (1st Cir. 1996), superseded by statute on other grounds,
   15 U.S.C. § 78u-4(b)(1)(2) ......................................................................................................66

Shoemaker v. Cardiovascular Sys., Inc.,
   2017 WL 1180444 (D. Minn. Mar. 29, 2017) ...................................................................10, 12

Siegmund v. Xuelian Bian,
    2018 WL 1611197 (S.D. Fla. Apr. 2, 2018) ............................................................................53

Sinay v. Lamson & Sessions Co.,
   948 F.2d 1037 (6th Cir. 1991) .................................................................................................24

Smallen v. Western Union Co.,
   950 F.3d 1297 (10th Cir. 2020) ...............................................................................................47

Southland Sec. Corp. v. INSpire Ins. Solutions, Inc.,
   365 F.3d 353 (5th Cir. 2004) ...................................................................................................40

Stoneridge Inv. Partners, LLC v. Sci.-Atlanta,
   552 U.S. 148 (2008) .....................................................................................................52, 53, 54

Tadros v. Celladon Corp.,
   2016 WL 5870002 (S.D. Cal. Oct. 7, 2016) ............................................................................39

Teamsters Local 456 Pens. Fund v. Universal Health Servs.,
   2020 WL 2063474 (E.D. Pa. Apr. 29, 2020) ...........................................................................38

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
    551 U.S. 308 (2007) ......................................................................................................... passim

Thomas H. Lee Equity Fund V, L.P. v. Mayer Brown, Rowe & Maw LLP,
   612 F. Supp. 2d 267 (S.D.N.Y. 2009)......................................................................................54

Tongue v. Sanofi,
   816 F.3d 199 (2d Cir. 2016).....................................................................................................60



                                                                 -xv-
Ulbricht v. Ternium S.A.,
   2020 WL 5517313 (E.D.N.Y. Sept. 14, 2020) ............................................................42, 64, 65

United States v. Siegelman,
   640 F.3d 1159 (11th Cir. 2011) ...................................................................................15, 17, 18

United States v. Sittenfeld,
   -- F. Supp. 3d --, 2021 WL 779136 (S.D. Ohio Mar. 1, 2021) ..........................................14, 15

United States v. Terry,
   707 F.3d 607 (6th Cir. 2013) .................................................................................14, 15, 16, 27

Wagner v. First Horizon Pharm. Corp.,
  464 F.3d 1273 (11th Cir. 2006) .................................................................................................8

West Palm Beach Firefighters Pension Fund v. Conagra Brands, Inc.,
   495 F. Supp. 3d 622 (N.D. Ill. 2020) .................................................................................20, 60

Zaluski v. United Am. Healthcare Corp.,
   527 F.3d 564 (6th Cir. 2008) (Cole, J.)............................................................................ passim

Zamir v. Bridgepoint Educ., Inc.,
   2016 WL 3971400 (S.D. Cal. July 25, 2016) ..........................................................................48

Zucco Partners, LLC v. Digimarc Corp.,
   552 F.3d 981 (9th Cir. 2009) ...................................................................................................42

RULES

Rule 9(b) ................................................................................................................................ passim

Rule 10b-5.............................................................................................................................. passim

Rule 10b-5(a) ......................................................................................................................... passim

Rule 10b-5(b) ......................................................................................................................... passim

Rule 10b-5(c) ......................................................................................................................... passim

STATUTES

17 C.F.R. § 229.04 .........................................................................................................................65

17 C.F.R. § 229.105 .......................................................................................................................65


                                                                    -xvi-
17 C.F.R. § 240.10b-5....................................................................................................................49

17 C.F.R. § 240.10b-5(a) ...............................................................................................................32

17 C.F.R. § 240.10b-5(c) ...............................................................................................................32

15 U.S.C. § 77l(a)(2)......................................................................................................................66

15 U.S.C. § 78u-4(b) ......................................................................................................................66

15 U.S.C. § 78u-4(b)(1) .................................................................................................................10

15 U.S.C. § 78u-4(b)(2) .................................................................................................................31

18 U.S.C. § 1961(1) .......................................................................................................................22

18 U.S.C. § 1962(c) .......................................................................................................................22

18 U.S.C. § 1962(d) .......................................................................................................................23




                                                                  -xvii-
                    STATEMENT REQUESTING ORAL ARGUMENT

       Pursuant to Local Rule 7.1(b), the FirstEnergy Defendants respectfully request oral

argument on this motion. The FirstEnergy Defendants submit that, given the complexity of the

legal issues presented in this matter, oral argument may aid the Court’s consideration of this

motion.




                                              -xviii-
                                             INTRODUCTION

        At its core, the Complaint trades on guilt-by-association, instead of pleading

particularized facts as required. It alleges that certain people who are not parties to this case

(former Ohio House Speaker Larry Householder and some of his associates) engaged in unlawful

conduct and that a few Defendants here interacted with those wrongdoers. 1 Based on the nature

of the alleged or admitted wrongdoing by others, Plaintiffs ask the Court to conclude that certain

of the Defendants here also engaged in misconduct. But the Complaint lacks the requisite details

to support that conclusion, under the high pleading standards that apply to securities claims.

        The crux of the Complaint is its assertion that the Defendants violated the securities laws

by committing illegal acts relating to Ohio House Bill 6 and/or not disclosing them to investors.

But no underlying “illegal” act is pleaded with anything near the degree of particularity required

by the Private Securities Litigation Reform Act or Rule 9(b). The Complaint does not plead

specific facts about:

        •    Any law or regulation that any Defendant supposedly violated;

        •    Any act by a Defendant that was not protected by the First Amendment;

        •    Any explicit quid pro quo agreement that converted a political contribution into a
             “bribe” or any specific “official act”;

        •    Any legal requirement that contributions to social-welfare organizations be disclosed
             or any legal limitation on the amounts that may be contributed; or

        •    Any agreement between Householder or his associates and any Defendant to commit
             any unlawful act.


        1
         Unless otherwise noted, “Defendants” refers to all individuals and entities named as defendants in the
Complaint. “Exchange Act Defendants” refers to FirstEnergy and the Officer Defendants, as defined in the
Complaint, against whom Plaintiffs have filed claims under the Securities Exchange Act of 1934 (“Exchange Act”).
        The First Energy Defendants (FirstEnergy Corp., James F. Pearson, Steven E. Strah, K. Jon Taylor, Jason J.
Lisowski, George M. Smart, Paul T. Addison, Michael J. Anderson, Steven J. Demetriou, Julia L. Johnson, Donald
T. Misheff, Thomas N. Mitchell, James F. O’Neil III, Christopher D. Pappas, Sandra Pianalto, Luis A. Reyes, Jerry
Sue Thornton, and Leslie M. Turner) hereby join in the arguments set forth in the motions of the other defendants.

                                                       -1-
         The Complaint’s failure to plead scienter independently requires dismissal of the

Exchange Act claims. The Complaint must plead specific facts showing that every alleged

misstatement was made with knowledge of its falsity or that each Defendant knowingly engaged

in a deceptive scheme. The Complaint does not do this, and it never confronts the opposing,

compelling inference that the Exchange Act Defendants at all times believed they were engaging

in the political process by legal means. There are other reasons, too, why the Complaint should

be dismissed in its entirety, as its pleading failures pervade every claim.

         As this Court has acknowledged and as the Sixth Circuit has affirmed, allegations of

wrongdoing do not suffice to state a claim for violation of the securities laws. See, e.g., Albert

Fadem Tr. v. Am. Elec. Power Co., Inc., 334 F. Supp. 2d 985, 1010, 1028 (S.D. Ohio 2004)

(Marbley, C.J.) (dismissing complaint, while “acknowledging that some wrongdoing has been

alleged in the [complaint]”); Zaluski v. United Am. Healthcare Corp., 527 F.3d 564, 568 (6th

Cir. 2008) (Cole, J.) (affirming dismissal of securities complaint involving illegal payments by

defendant corporation to state senator). So it is here. The Complaint should be dismissed.

                                      RELEVANT BACKGROUND 2

         A.       FirstEnergy And Its Exercise Of First Amendment Rights In 2017 And 2018

         Defendant FirstEnergy Corp. (“FirstEnergy” or the “Company”) is an Ohio corporation

based in Akron. (¶ 27.) FirstEnergy and its subsidiaries transmit, distribute, and generate

electricity, serving more than six million customers in the Midwest and Mid-Atlantic regions.


         2
          Paragraph references are to the Complaint, the well-pled allegations of which are taken as true solely for
purposes of this motion. Internal quotations and citations are omitted and emphases added unless otherwise noted.
         On this motion, the Court may consider documents incorporated into the Complaint by reference and
matters of which the Court may take judicial notice, including filings with the Securities and Exchange Commission.
In re EveryWare Global, Inc. Sec. Litig., 175 F. Supp. 3d 837, 850 (S.D. Ohio 2016) (Marbley, C.J.), aff’d sub nom.
IBEW Loc. No. 58 Annuity Fund v. EveryWare Glob., Inc., 849 F.3d 325 (6th Cir. 2017). Documents properly
considered here are being submitted as exhibits to the Declaration of Geoffrey J. Ritts and are referred to as “Ex.
__.”

                                                         -2-
(Id.) Like other energy companies, FirstEnergy monitors legislative developments and

participates in the legislative process to further the interests of the Company and its shareholders.

(E.g., Ex. A, 2021 10-K at 3-4.)

       FirstEnergy has long advocated for policies supportive of Ohio’s nuclear-power

resources, which supply carbon-free and reliable electricity to the grid. In 2017, FirstEnergy

disclosed its efforts to obtain legislative aid in preserving two nuclear power plants controlled by

its then-nuclear-energy affiliate. (¶ 103.) Also in 2017, the Company announced its hope for

“legislation for a zero-emission nuclear program” to “preserve valuable nuclear generation”

assets and thousands of jobs at the two plants. (Id.)

       After the zero-emission nuclear legislation failed to pass, FirstEnergy continued to search

for a path forward on nuclear-power legislation. Beginning in 2017, FirstEnergy allegedly began

contributing to tax-exempt entities called Generation Now and Partners for Progress to promote

legislation to create an Ohio Clean Air Program to support nuclear and other renewable

resources. Partners for Progress and Generation Now, like other 501(c)(4) social welfare

organizations, can engage in issue advocacy and lobbying activities and can make political

contributions. See NorCal Tea Party Patriots v. Internal Revenue Serv., 2016 WL 8202966, at

*3 (S.D. Ohio Nov. 22, 2016) (“501(c)(4) organizations can engage in limited political activity,

but political activity cannot be the primary activity of the organization.”).

       Over the course of several years, the Complaint alleges that $60 million of contributions

were made to 501(c)(4) organizations in support of legislation to promote nuclear power. (See

¶ 8.) Of that, the Complaint alleges that approximately 25% of those contributions were made by

FirstEnergy, as opposed to other entities such as Energy Harbor Corp. (formerly FirstEnergy

Solutions Corp.), which, as the Complaint admits, is a separate corporation that has been under



                                                 -3-
separate management with a separate board since 2016. (See ¶¶ 45, 153; p. 12 n.1.)

FirstEnergy’s total contributions in 2017 and 2018 were only $2.4 million. (¶ 137.)

FirstEnergy’s advocacy for nuclear power was an exercise of its constitutionally protected rights.

See infra at 13-14.

          The Complaint alleges only a small handful of other events in 2017 and 2018. The

Complaint alleges that Householder and his sons flew on the Company’s plane to the January

2017 presidential inauguration, but provides no details. (¶ 65.) The Complaint alleges that two

of the Exchange Act Defendants had phone contacts with Householder or his associates in 2017

and 2018 (before Householder was Speaker), but provides no details. (¶¶ 222-23.) Finally, the

Complaint notes that a March 2017 article in a Pennsylvania newspaper stated that FirstEnergy

favored legislation to support nuclear power generation. (¶ 66.) See also infra at 25-30

(discussing these allegations).

          B.     2019 Objections To Bankruptcy Plan Of Reorganization

          In March 2018, FirstEnergy Solutions Corp. (“FES”) and FirstEnergy Nuclear Operating

Company, two then-subsidiaries of FirstEnergy, filed for Chapter 11 bankruptcy. (¶ 45.) The

Complaint alleges that the proposed plan of reorganization began to draw criticism in early 2019.

(¶¶ 52-57.) In April 2019, the bankruptcy court “effectively halt[ed] the bankruptcy process.”

(¶ 62.) According to the Complaint, it was only then, after the bankruptcy court declined to grant

FirstEnergy “an express release of liability for the decommissioning expenses,” that FirstEnergy

supposedly turned to “a corrupt scheme that would ultimately result in the passage of HB6.”

(¶ 63.)

          C.     HB6’s Introduction In 2019 And Its Subsequent Enactment

          Householder was elected Speaker of the Ohio House of Representatives in 2019. (¶ 71.)

In February 2019, Samuel Randazzo was appointed chairman of the Public Utilities Commission

                                                -4-
of Ohio (“PUCO”), and assumed that role in April 2019. (¶¶ 193; 216.) Randazzo allegedly

helped to draft, and supported, HB6. (¶ 72.)

       It was not until April 2019 that Householder introduced HB6 in the Ohio House. (¶ 73.)

In May 2019, the Ohio House passed HB6. (¶ 74.) In July 2019, the Ohio Senate passed an

amended version of the bill. (¶ 78.) On July 23, 2019, the House voted to approve the amended

bill, and the Governor signed it into law that same day. (Id.) At the time HB6 was enacted,

FirstEnergy did not own or operate the Davis-Besse or Perry nuclear plants. (¶¶ 42, 46, 78.)

Those plants were (and are) owned by Energy Harbor Corp., a separate, publicly traded company

(formerly known as FES). (¶¶ 42, 45, 46.)

       Following HB6’s enactment, a campaign to repeal HB6 began. (¶ 81.) The Complaint

alleges that FirstEnergy and an “affiliate” made contributions in unstated amounts to

organizations that opposed the repeal campaign, which failed to collect enough signatures to

place a repeal issue on the ballot for the November 2019 election. (See ¶¶ 83, 86, 137)

       D.      The Government’s Complaint Against Others For Their Alleged Misuse of
               Generation Now’s Funds

       In July 2020, federal prosecutors filed a criminal complaint against Householder,

Generation Now, and four of Householder’s associates, alleging that they used Generation

Now’s funds for improper purposes to benefit themselves in violation of federal law. (¶ 143.)

Jeffrey Longstreth and Juan Cespedes, two of Householder’s associates, entered guilty pleas in

October 2020. (¶¶ 69, 171.) In February 2021, Generation Now entered a guilty plea. (¶ 205.)

The plea agreements referenced in the Complaint do not identify any individual Defendant in this

action or charge any of them with violations of law. Nor do they attribute any action to any

Defendant or identify FirstEnergy or any other Defendant as a party to any agreement with




                                               -5-
Householder or anyone else. Neither FirstEnergy nor any of its employees have been charged

with any crime.

        E.      Shareholders And Consumers Sue

        Shortly after the government filed the criminal complaint against Householder, several

lawsuits were filed. These include shareholder lawsuits, ratepayer class actions, and state and

municipal proceedings. (¶ 239.) For example, the Ohio Attorney General filed a civil action in

connection with certain charges that were to be imposed under HB6, and a consolidated civil

RICO action on behalf of putative classes of ratepayers is pending in this Court. (Id.) In

addition, the U.S. Attorney’s Office for the Southern District of Ohio and the SEC are

conducting related investigations. (¶ 240.)

        F.      This Lawsuit

        Plaintiffs allege that FirstEnergy and certain of its top executives engaged in a “scheme”

to enact HB6 “at ratepayers’ expense.” (¶¶ 3, 8, 75; see also ¶ 5 (“ratepayer-funded $1.3 billion

bailout” and “ratepayer-funded ‘decoupling’ provision”); ¶ 74 (“subsidies . . . funded by Ohio

ratepayers”); ¶ 81 (“negative impact HB6 would have on Ohio ratepayers”).) But this lawsuit is

not brought on behalf of ratepayers; it is brought on behalf of “purchasers of FirstEnergy

securities.” (¶ 1.)

        The Complaint alleges that the Exchange Act Defendants made materially false and

misleading statements relating to the supposed “scheme” in FirstEnergy’s SEC filings and public

statements, and that those misstatements, and the supposed underlying “scheme,” violated

Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5 thereunder. (¶¶ 268-71.)

The Complaint also asserts claims under the Securities Act of 1933 relating to the issuance of

two series of notes by FirstEnergy in February and June 2020. (¶¶ 302-09.) “Control person”



                                                -6-
claims are alleged against the individuals named as defendants, based upon the asserted

substantive violations of the Exchange Act and the Securities Act. (¶¶ 318-22.)

                                      LEGAL STANDARDS

       Securities complaints must comply with strict pleading standards. To start, Plaintiffs must

satisfy Rule 9(b) and its heightened pleading requirements. As to their claim under Rule 10b-

5(a) and (c), Plaintiffs “must specify, with particularity, ‘what manipulative acts were performed,

which defendants performed them, when the manipulative acts were performed and what effect

the scheme had on the securities at issue.’” In re Nat’l Century Fin. Enters., Inc., Inv. Litig.,

2006 WL 469468, at *21 (S.D. Ohio Feb. 27, 2006) (“Nat’l Century I”). As to their claim under

Rule 10b-5(b) for misstatement liability, Rule 9(b) requires “a plaintiff to specify the fraudulent

statements, identify the speaker, state where and when the statements were made, and explain

why the statements were fraudulent.” In re EveryWare, 175 F. Supp. 3d at 850. Further

“[b]olstering this rule of specificity,” the PSLRA mandates that a complaint alleging violation of

Rule 10b-5(b) “specify each statement alleged to have been misleading” and “the reason or

reasons why the statement is misleading.” Ind. State Dist. Council of Laborers & Hod Carriers

Pension & Welfare Fund v. Omnicare, Inc., 583 F.3d 935, 943 (6th Cir. 2009) (“Omnicare I”).

       Then, on top of Rule 9(b), “the PSLRA imposes additional and more ‘[e]xacting pleading

requirements’ for pleading scienter in a securities fraud case.” Frank v. Dana Corp., 547 F.3d

564, 570 (6th Cir. 2008). Omissions, ambiguities, and gaps in the factual allegations of a

complaint count against the plaintiff. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,

326 (2007).

       Because the Complaint’s claims under the Securities Act of 1933 are based on fraudulent

conduct—the supposed “scheme”—they too are subject to Rule 9(b). See, e.g., Omnicare I, 583

F.3d at 948 (applying Rule 9(b) where Securities Act claims were based on the same factual
                                                 -7-
allegations as Exchange Act claims). 3 That is because “Rule 9(b) is not limited to claims of

common law fraud or claims which include fraud as one of the elements. Rather, the heightened

pleading requirements apply to ‘averments of fraud’ or ‘claim[s] that sound[] in fraud—in other

words, one[s] that [are] premised upon a course of fraudulent conduct.’” Ferron v.

SubscriberBase Holdings, Inc., 2009 WL 650731, at *5 (S.D. Ohio Mar. 11, 2009) (quoting

Borsellino v. Goldman Sachs Grp., Inc., 477 F.3d 502, 507 (7th Cir. 2007)); see also Davisson v.

Ford Motor Co., 2014 WL 4377792, at *8 (S.D. Ohio Sept. 3, 2014) (Marbley, C.J.) (“It is well-

settled that any claim sounding in fraud—not just those alleging a claim of fraud—must meet

Rule 9(b)’s pleading standard.”).

        Though Plaintiffs attempt to disclaim fraud with respect to the Securities Act claims

(¶ 304), courts in this Circuit reject such disclaimers where, as here, the substantive allegations

sound in fraud. See, e.g., Local 295/Local 851 IBT Emp’r Grp. Pension Tr. & Welfare Fund v.

Fifth Third Bancorp, 731 F. Supp. 2d 689, 709 (S.D. Ohio 2010) (“A blanket disavowal in the

complaint that the claims do not allege fraud, however, is insufficient to rescue them from the

requirements of Rule 9(b).”). Rather than simply crediting the generalized disclaimer Plaintiffs

offer here, courts look to “the wording and imputations of the complaint” and apply Rule 9(b) to



        3
           Like the Sixth Circuit in Omnicare I, courts elsewhere have concluded that the reasons Rule
9(b) applies to fraud claims brought under § 10(b) “apply with equal force” to §§ 11 and 12(a)(2) claims
that sound in fraud. E.g., Rombach v. Chang, 355 F.3d 164, 170-71 (2d Cir. 2004). That is why, with the
lone exception of the Eighth Circuit, “every circuit court to examine the issue has held, Rule 9(b) applies
to allegations under the Securities Act where those allegations sound in fraud.” Cozzarelli v. Inspire
Pharm. Inc., 549 F.3d 618, 629 (4th Cir. 2008). See, e.g., In re Rigel Pharm., Inc. Sec. Litig., 697 F.3d
869, 886 (9th Cir. 2012); Cozzarelli, 549 F.3d at 629 (Fourth Circuit); ACA Fin. Guar. Corp. v. Advest,
Inc., 512 F.3d 46, 68 (1st Cir. 2008); Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273, 1275 (11th
Cir. 2006); Cal. Pub. Emps.’ Ret. Sys. v. Chubb Corp., 394 F.3d 126, 144 (3d Cir. 2004); Rombach, 355
F.3d at 170-71 (Second Circuit); Melder v. Morris, 27 F.3d 1097, 1100 n.6 (5th Cir. 1994); Sears v.
Likens, 912 F.2d 889, 893 (7th Cir. 1990) (affirming dismissal of Securities Act and Exchange Act claims
for failing to satisfy Rule 9(b)). But see In re NationsMart Corp. Sec. Litig., 130 F.3d 309, 314-19 (8th
Cir. 1997).

                                                    -8-
allegations of “misleading,” “false,” and “untrue” statements, because such allegations are those

“classically associated with fraud.” Rombach, 355 F.3d at 172. The Complaint makes those

exact allegations as to the Securities Act claims. (E.g., ¶¶ 291, 293, 295, 297 (all regarding

allegedly “materially false” and “misleading” and “untrue” statements in the registration

statements); ¶ 292 (alleging failure to disclose “illegal bribery scheme”).) The Court should give

no credence to Plaintiffs’ disavowal, which is inconsistent with their allegations. See Local

295/Local 851, 731 F. Supp. 2d at 709 (“Plaintiffs’ allegation that their Securities Act claims do

not sound in fraud is a legal conclusion that the Court does not have to accept as being true.”).

                                                   ARGUMENT

I.       THE COMPLAINT FAILS TO PLEAD ANY FALSE STATEMENT OR
         DECEPTIVE ACT WITH PARTICULARITY.

         A.       The Complaint Fails To Plead With Particularity Any Underlying Illegal
                  Act.

         The gravamen of the Complaint is two-fold. First, Plaintiffs assert a claim for

misstatement liability under Rule 10b-5(b), based on allegations that statements about

FirstEnergy’s legal compliance and internal controls were false and misleading because they did

not disclose the “illegal,” “corrupt” “Bailout Scheme” (¶ 94; see also ¶¶ 269, 292), which

allegedly included “bribery” (¶¶ 3, 142, 144, 209, 236-37, 292), and “illegally large and illegally

concealed” contributions (¶¶ 70, 93). 4 Second, Plaintiffs assert a claim for scheme liability

under Rule 10b-5(a) and (c), based on the theory that the supposedly illegal “Bailout Scheme”

itself was a scheme to defraud investors. (¶ 270.) 5 The allegedly illegal underlying acts are not


         4
            The elements of a claim for misstatement liability under § 10(b) of the Exchange Act and Rule 10b-5(b)
are: (1) a false statement or omission (2) of material fact (3) with scienter (4) in connection with the purchase or sale
of securities (5) upon which the plaintiff justifiably relied (6) and that the false statement proximately caused the
plaintiff’s damages. Frank, 547 F.3d at 569.
         5
           The elements of a claim for so-called “scheme liability” under § 10(b) of the Exchange Act and Rule 10b-
5(a) or (c) are that “the defendant: (1) committed a deceptive or manipulative act (2) with scienter, (3) that the act
affected the market for securities or was otherwise in connection with their purchase or sale, and (4) that defendants’

                                                          -9-
pleaded with particularity, however, and so the Complaint fails to state an actionable claim under

Rule 10b-5 either for misstatement liability or for scheme liability.

         Because the PSLRA requires a plaintiff to specify the “the reason or reasons” why a

statement is misleading and “state with particularity all facts on which [a] belief is formed,” 15

U.S.C. § 78u-4(b)(1), the caselaw uniformly holds that, where a securities claim is predicated on

“the non-disclosure of illegal activity, the facts of the underlying illegal acts must also be

pleaded with particularity, in accordance with the heightened pleading requirement of Rule 9(b)

and the PSLRA.” Gamm v. Sanderson Farms Inc., 944 F.3d 455, 465 (2d Cir. 2019) (dismissing

complaint alleging misstatement and scheme liability); Schiro v. Cemex, S.A.B. de C.V., 438 F.

Supp. 3d 194, 199 (S.D.N.Y. 2020) (dismissing complaint alleging scheme and misstatement

liability where “Plaintiffs have failed to plead with particularity the existence of an underlying

bribery scheme”). 6

         To plead an underlying illegal act with particularity, a complaint “must plead particular

facts that, if true, would constitute illegal conduct,” Shoemaker, 2017 WL 1180444, at *8, and

that establish “the essential elements of th[e] underlying conduct,” Sanderson Farms, 944 F.3d at

464. “In order adequately to allege an underlying illegal act, such as bribery, Plaintiffs must


actions caused the plaintiffs’ injuries.” Nat’l Century I, 2006 WL 469468, at *21. Courts describe claims under
Rule 10b-5(a) and (c) as “scheme liability” claims because they relate to deceptive conduct, not deceptive
statements. E.g., Pub. Pension Fund Grp. v. KV Pharm. Co., 679 F.3d 972, 986 (8th Cir. 2012).
         6
           Many cases are in accord. See also Hogan v. Pilgrim’s Pride Corp., 2018 WL 1316979, at *9 (D. Colo.
Mar. 14, 2018) (dismissing complaint alleging misstatement and scheme liability in for failure to “plead the
underlying antitrust conspiracy with sufficient particularity”); In re Tyson Foods, Inc. Sec. Litig., 275 F. Supp. 3d
970, 984-95 (W.D. Ark. 2017) (dismissing complaint alleging misstatement and scheme liability for failure to plead
underlying illegal acts with particularity); Shoemaker v. Cardiovascular Sys., Inc., 2017 WL 1180444, at *10 (D.
Minn. Mar. 29, 2017) (dismissing complaint alleging misstatement and scheme liability for failure to allege
elements of violation of underlying anti-kickback statute with particularity); In re Immucor, Inc., Sec. Litig., 2011
WL 2619092, at *5 (N.D. Ga. Jun. 30, 2011) (dismissing complaint alleging misstatements and an “illegal price-
fixing scheme” where plaintiff did not “even attempt to allege facts showing an explicit agreement . . . to fix
prices”); In re AXIS Capital Holdings Ltd. Sec. Litig., 456 F. Supp. 2d 576, 581, 586 (S.D.N.Y. 2006) (dismissing
complaint alleging misstatements and scheme liability where complaint did not specify how alleged illegal “‘hidden
pay-to-play’ scheme” actually violated the law).

                                                        -10-
plead the ‘who, what, when, where, and how’ of the alleged improper transaction.” Schiro, 438

F. Supp. 3d at 198; see also Bondali v. Yum! Brands, Inc., 620 F. App’x 483, 488-89 (6th Cir.

2015 (particularity requires facts showing “who, what, when, where, and how”). Mere assertions

of illegality do not suffice. E.g., In re Mirant Corp. Sec. Litig., 2009 WL 48188, at *18 (N.D.

Ga. Jan. 7, 2009) (“The blanket characterization of business transactions as illegal does not make

them so.”); Sanderson Farms, 944 F.3d at 465 (affirming dismissal where plaintiffs “merely

use[d] stock phases such as ‘worked in concert’ and ‘coordinated’” when alleging underlying

conspiracy); see also Albert Fadem Tr., 334 F. Supp. 2d at 1010 (“[C]laims of securities fraud

cannot rest on speculation and conclusory allegations.”).

       The Complaint falls short of these requirements. It does not even attempt to specify any

law or regulation that any Defendant purportedly violated, let alone specify the facts of the

violation with particularity. Because the Complaint fails to plead with particularity the

cornerstone of the claims asserted here—the underlying “illegal” actions—it must be dismissed.

               1.      The Complaint Never Identifies Any Law Or Regulation Supposedly
                       Violated By Any Defendant.

       At a minimum, pleading an illegal act with particularity requires identifying the law or

regulation that the underlying conduct purportedly violated. The Complaint does not do this. It

does not identify a single law or regulation that any Defendant supposedly violated. It relies

instead on vague assertions of “bribery and corruption” (e.g., ¶ 142), allusions to “campaign

finance limits” (¶ 70), and “numerous” but unspecified “state and federal laws and regulations”

(¶ 135(b)). This failure warrants dismissal.

       As the Sixth Circuit has held, a complaint that merely references an investigation but fails

to “plead what, if any, laws or regulations defendants violated such that a statement of legal

compliance . . . would have been false or misleading” must be dismissed. Dailey v. Medlock,


                                               -11-
551 F. App’x 841, 849 (6th Cir. 2014) (affirming dismissal of Rule 10b-5 claim); cf. Zaluski, 527

F.3d at 575 (affirming dismissal even where payments to state senator were identified as

prohibited by contract with the state). Numerous federal courts have held that a complaint that

merely “contend[s] in conclusive fashion” that “Defendants’ underlying business activity was

illegal, but provide[s] no explanation of its theory of illegality” does not satisfy the particularity

standard. Mirant, 2009 WL 48188, at *18 (dismissing for failure to explain “how any of the

purportedly improper trading practices violated state or federal law”); see also Shoemaker, 2017

WL 1180444, at *10 (dismissing for “nakedly alleg[ing] the FDA limitations” defendants

purportedly exceeded without identifying those limitations with particularity and explaining how

they were violated); Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC, 164 F. Supp. 3d 568, 578-79

(S.D.N.Y. 2016) (“Menaldi I”) (dismissing for failure to “present a plausible theory of how” an

executive order allegedly violated by defendants “applies to the facts of this case”). This rule

makes sense: a complaint cannot plead facts establishing that compliance statements were false

because of underlying illegal conduct if it never says which laws the defendants violated. See,

e.g., Dailey, 551 F. App’x at 849 (affirming dismissal where complaint failed to identify laws or

regulations defendants purportedly violated).

               2.      The Factual Allegations Do Not Support Any Legal Theory To Which
                       The Complaint Even Alludes.

       Even if the Complaint identified a specific statute or regulation that Defendants

supposedly violated, it would still come up short. The theories one might read into the

Complaint on Plaintiffs’ behalf—bribery, campaign-finance violations, RICO violations, or

conspiracy—are not supported by particularized facts. So even if this Court were willing to

interpolate statutes or regulations that any Defendant supposedly violated but that Plaintiffs did

not identify, it still should dismiss the Complaint.


                                                 -12-
         Because this case deals with speech about matters of public interest, political activity, and

petitioning of government officials, the issue of legality is necessarily viewed against a backdrop

of First Amendment protections. The Supreme Court has long held that “[t]he right to participate

in democracy through political contributions” is protected by the Constitution,” McCutcheon v.

FEC, 572 U.S. 185, 191 (2014), and that all citizens, including corporations, have the

fundamental right to speak on issues of public importance, First Nat’l Bank of Bos. v. Bellotti,

435 U.S. 765, 789-92 (1978). That right extends to spending money on speech advocating for or

against the election of candidates for office or on controversial policy issues, see Citizens United

v. FEC, 558 U.S. 310, 364 (2010), and it encompasses the right to hire lobbyists and consultants

to petition the government, including to “enact favorable legislation,” e.g., FTC v. Super. Ct.

Trial Lawyers Ass’n, 493 U.S. 411, 426 (1990). Of particular importance here, the First

Amendment also protects the right to contribute anonymously to groups that speak or advocate

on matters of public concern. See, e.g., NAACP v. Alabama, 357 U.S. 449, 462 (1958).

         Insofar as the Complaint alleges that FirstEnergy indirectly helped to elect “friendly”

candidates, advocated for favorable legislation, or contributed to groups that took positions on

policy issues, the Complaint describes the exercise of rights that the First Amendment guarantees

to everyone. The Complaint’s theme that FirstEnergy’s conduct is actionable because its views

were wrong or HB6 was bad policy is incompatible with the First Amendment. 7 To establish

underlying illegal conduct, the Complaint needs particularized facts showing Defendants

committed an unprotected act, and those particularized facts are absent.




       7
         See, e.g., ¶¶ 3 (characterizing political ads as “false and misleading”), 75-77 (arguing that HB 6
“undermin[ed] society’s environmental interests”), 83 (“offensive and misleading” “mailers and ads”).

                                                        -13-
                       (a)     Bribery

       The Complaint fails to plead bribery with particularity because its factual allegations do

not establish an explicit quid pro quo agreement. A political contribution is a “bribe” only if

“payments are made in return for an explicit promise or undertaking by the official to perform or

not to perform an official act” and the official agrees that “his official conduct will be controlled

by the terms of the promise or the undertaking.” McCormick v. United States, 500 U.S. 257, 273

(1991); see also United States v. Terry, 707 F.3d 607, 612 (6th Cir. 2013). The agreement must

be “‘a quid pro quo’—that ‘the payor provided a benefit to a public official intending that he will

thereby take favorable official acts that he would not otherwise take.’” Huff v. FirstEnergy

Corp., 972 F. Supp. 2d 1018, 1034 (N.D. Ohio 2013).

       “Where, as here, the alleged bribe is a campaign contribution, the facts must show that

the contribution was given ‘in return for a specific official action . . . No generalized expectation

of some future action will do.’” Huff, 972 F. Supp. 2d at 1034; Evans v. United States, 504 U.S.

255, 268 (1992) (requiring an “agreement to perform specific official acts”); United States v.

Sittenfeld, -- F. Supp. 3d --, 2021 WL 779136, at *15 (S.D. Ohio Mar. 1, 2021) (same). As the

Supreme Court has defined the term, “an ‘official act’ is a decision or action on a ‘question,

matter, cause, suit, proceeding or controversy’” involving “a formal exercise of governmental

power that is similar in nature to a lawsuit before a court, a determination by an agency, or a

hearing before a committee.” McDonnell v. United States, 136 S. Ct. 2355, 2371-73 (2016).

       “In order adequately to allege an underlying illegal act, such as bribery, Plaintiffs must

plead the ‘who, what, when, where, and how’ of the alleged improper transaction,” which

requires “factual allegations of exactly who made the payments, to whom the payments were

made, when the payments were made, [and] how the payments were made.” Schiro, 438 F.

Supp. 3d at 198-99; Menaldi I, 164 F. Supp. 3d at 578-79, 582 (dismissing Rule 10b-5 claim
                                                -14-
premised on bribery where complaint failed to plead “how, when, and whether” defendant

offered anything of value to officials). Though “[m]otives and consequences . . . are the keys for

determining whether a public official entered an agreement to accept a bribe,” this means only

that “an explicit agreement may be ‘implied from [the official’s] words and actions.’” Terry,

707 F.3d at 613 (quoting Evans, 504 U.S. at 274 (Kennedy, J., concurring)); Evans, 504 U.S. at

274 (explaining that motive and intent are inferred from “words [which] were spoken or actions

taken”). “What is needed is an agreement, full stop.” Terry, 707 F.3d at 613. Bare allegations

of motive and speculation that conduct was carried out pursuant to an agreement does not

suffice. See United States v. Siegelman, 640 F.3d 1159, 1171 (11th Cir. 2011) (“In the absence

of such an agreement on a specific action, even a close-in-time relationship between the donation

and the act will not suffice.”). 8

         Applying these principles, the Complaint cannot plead an underlying act of bribery unless

it states particularized facts of (1) an explicit quid pro quo agreement between Householder/his

affiliates and a Defendant which (2) Householder promised he would perform a specific official

action and that his performance would be controlled by the terms of the promise (3) in exchange

for the return promise of political contributions. The Complaint does not do this.

         It never alleges that Householder or anyone else promised to any Defendant that he

would deliver an official action in exchange for contributions or that any Defendant promised

Householder contributions conditioned on specific official action. Nor does the Complaint


         8
            Allegations of motive and consequences are not enough, even under the dramatically weaker pleading
standard applicable to criminal indictments, which is a far cry from the pleading required under the PSRLA. See
Sittenfeld, 2021 WL 779136, at *10 (holding “that something like the outdated Conley v. Gibson, 355 U.S. 41
(1957), standard from the civil context applies to criminal complaints.”). Cf. Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 556-57 (2007) (holding that under the ordinary plausibility pleading standard, “lawful parallel conduct
fails to bespeak unlawful agreement” and “a conclusory allegation of agreement at some unidentified point does not
supply facts adequate to show illegality”); Sanderson Farms, 944 F.3d at 466 (“[T]he law is clear that the mere
opportunity to conspire does not by itself support the inference that such an illegal combination actually occurred.”).

                                                         -15-
allege anything about any specific contribution tied to any specific agreement between specific

persons (Householder/his associates and any Defendant) at a particular time that amounted to an

improper quid pro quo. The Complaint makes no attempt to articulate the terms of any such

purported agreement or the circumstances of its formation. It contains no facts about the

contents of any meetings, conversations, or other communications between Householder or his

associates and any Defendant. See, e.g., In re Huntington Bancshares Inc. Sec. Litig., 674 F.

Supp. 2d 951, 965 (S.D. Ohio 2009) (dismissing for failure to plead falsity with particularity

where complaint did not “allege any specific facts that Huntington’s disclosures were

incompatible with any reports, data, or signs”); Sanderson Farms, 944 F.3d at 466 (affirming

dismissal where plaintiffs pled “no facts regarding Sanderson Farms’ communications with the

Georgia Dock such as what information Sanderson Farms provided to [it]” or “on what

occasions”). That omission is fatal.

       At most, the Complaint alleges that Householder received contributions, but it is not

bribery to support politicians who favor policies that align with one’s interests. See Terry, 707

F.3d at 613 (“A donor who gives money in the hope of unspecified future assistance does not

agree to exchange payments for actions. No bribe thus occurs if the elected official later does

something that benefits the donor.”). The Complaint fails to plead an express quid pro quo even

in conclusory terms, far less with particularity. See Menaldi I, 164 F. Supp. 3d at 579

(dismissing complaint premised on allegations of bribery for failure to allege any actual

“promises to any Libyan government officials”); Schiro, 438 F. Supp. 3d at 199 (rejecting

“conclusory” allegations of bribery scheme premised on admission of “irregular payments”

where company “did not characterize the payments as bribes” and no particularized facts

supported that description).



                                               -16-
       Those few allegations in the Complaint that relate to FirstEnergy or any Defendant fail to

plead bribery with particularity.

       Contributions to Generation Now. Allegations that contributions were made (e.g., ¶¶ 67-

68, 75, 80, 82) and that HB6 passed and the referendum was defeated (¶¶ 78, 86) do not support

any inference of illegality, as they are not accompanied by particularized supporting allegations

about the content of any agreement or the circumstances of its formation. See, e.g., Siegelman,

640 F.3d at 1170 (bribery requires more than “merely proof of a campaign donation followed by

an act favorable to the donor”). That FirstEnergy made contributions to Generation Now does

not establish a return promise from Householder or anyone else as to any specific official act.

See, e.g., Sanderson Farms, 944 F.3d at 465 (affirming dismissal for failure to show purported

coordinated action was “the result of an agreement”); Immucor, 2011 WL 2619092, at *5

(dismissing claim premised on underlying conspiracy where “[a]n inference of innocent

parallelism” was equally plausible); In re JP Morgan Chase Sec. Litig., 363 F. Supp. 2d 595, 632

(S.D.N.Y. 2005) (dismissing where there were “no particular factual allegations that support the

conclusory assertion that these investment opportunities were provided as ‘kickbacks,’ let alone

that these opportunities were offered with fraudulent intent”). Likewise, the assertion that one

contribution from a FirstEnergy “affiliate” occurred after the failure of the repeal campaign

(¶ 86) cannot suffice to establish the existence of an explicit agreement. Huff, 972 F. Supp. 2d at

1305 (“Close-in-time contributions, standing alone, will not suffice to establish a quid pro quo

agreement); Siegelman, 640 F.3d at 1171 (same). And as the Supreme Court has explained,

“[r]eferenda are held on issues, not candidates for public office. The risk of corruption perceived

in cases involving candidate elections . . . simply is not present in a popular vote on a public

issue.” Bellotti, 435 U.S. at 790; Siegelman, 640 F.3d at 1169 n.13 (similar).



                                                -17-
       Communications with Householder. The Complaint alleges communications with

Householder by Jones, Dowling, and Pine (¶¶ 221-23), but it alleges nothing about the contents

of any discussions. There are no particularized facts about an explicit quid pro quo agreement

by which Householder promised a specific official act in return for contributions and that his

official conduct would be “controlled by the terms of the promise or the undertaking,”

McCormick, 500 U.S. at 273. See, e.g., Sanderson Farms, 944 F.3d at 465-66 (affirming

dismissal where complaint failed to plead anything beyond “opportunities to conspire”); Huff,

972 F. Supp. 2d at 1034-35 (dismissing RICO claim premised on bribery allegations; holding

“the existence of campaign contributions” and subsequent favorable official action cannot

support conclusory allegations of quid pro quo agreement); EveryWare, 175 F. Supp. 3d at 871

(dismissing “flimsy allegation” of accounting inaccuracies where complaint “put forth no

allegations about the nature of the ‘inaccurate financial disclosures’ or the content of the reports”

purportedly showing their existence).

       Randazzo. The allegations about Randazzo are likewise insufficient. FirstEnergy

disclosed a payment in 2019 in connection with the termination of a consulting agreement with

“an entity associated with an individual who subsequently was appointed to a full-time role as an

Ohio government official directly involved in regulating [certain FirstEnergy subsidiaries],” (Ex.

B, Form 10-Q at 86), and the Complaint alleges that Randazzo was the recipient of the payment

(e.g. ¶ 193) (the “Randazzo payment”). At the time of the Randazzo payment, Randazzo had not

been appointed to any office, and Plaintiffs allege that the payment was for a pre-existing

contract (¶ 190). Plaintiffs mischaracterize the disclosures about Randazzo payment (¶ 207), as

FirstEnergy disclosed only that the payment “may have been for purposes other than those

represented within the consulting agreement” (¶ 206). Plaintiffs, however, make the inferential



                                                -18-
leap that, because Randazzo purportedly “would go on to write key pieces of HB6 and publicly

testify in support of bill” (¶ 216), he presumably must have done so to fulfill his end of an

explicit quid pro quo bargain in exchange for the purportedly “illicit” payment (¶ 216). But

there are no specific facts to show that the Randazzo payment was illegal or that unidentified

“FirstEnergy executives” ever reached a quid pro quo agreement in which the payment was

offered in return for specific official action. (¶¶ 72, 186, 194, 206, 207, 211, 216, 222, 224.)

The Complaint offers only speculation—and it does not even attempt to spell out a factual basis

for concluding that an agreement was struck or a payment was otherwise illegal. (¶¶ 193, 199,

202.) See Schiro, 438 F. Supp. 3d at 199 n.3 (rejecting attempt “to plead the existence of a

bribery scheme” based on media article because complaint “fail[ed] to explain the basis for the

article’s conclusory allegation and, in any event, [did] not allege that the article asserted that

bribery occurred”). “[C]laims of fraud” cannot be based “on speculation and conclusory

allegations.” See EveryWare, 175 F. Supp. 3d at 849. The Complaint offers nothing more.

       Plea Agreements by Third Parties. The Complaint’s allegations about plea agreements

(¶¶ 69, 171, 205, 215) do not suffice to plead bribery by any Defendant with particularity, either.

None of the plea agreements identifies any individual Defendant, and none attributes any action

to any specific Defendant. United States v. Cespedes, No. 1:20-CR-77, ECF No. 63, Plea

Agreement (S.D. Ohio Oct. 29, 2020); United States v. Longstreth, No. 1:20-CR-77, ECF No.

64, Plea Agreement (S.D. Ohio Oct. 29, 2020); United States v. Generation Now, No. 1:20-CR-

77, ECF No. 78, Plea Agreement (S.D. Ohio Feb. 5, 2021).

       The Complaint’s allegations about the plea agreements say nothing about the content of

any promises purportedly exchanged between any Defendant and anybody else, the

circumstances of any agreement, who was involved, or the “specific official action” purportedly



                                                 -19-
given in exchange for a contribution. That is because the plea agreements are silent in this

regard. They lack facts to establish “the essential elements of the alleged bribery” by any

Defendant—far less with particularity, as none of the admissions detail the “‘who, what, when,

where, and how’ of the alleged improper transaction[s].” Schiro, 438 F. Supp. 3d at 198. See

also West Palm Beach Firefighters Pension Fund v. Conagra Brands, Inc., 495 F. Supp. 3d 622,

642 (N.D. Ill. 2020) (“[C]onclusions in external sources cannot substitute for allegations about

the underlying facts.”).

         The allegations about Cespedes and Longstreth (¶¶ 69, 171) face additional problems.

The portion of the Cespedes plea agreement cited by the Complaint does not specify to whom

Householder purportedly offered to deliver “specific official action” (¶ 171), and the part of the

Longstreth agreement referenced does not mention contributions for specific official action

(¶ 69). See United States v. Cespedes, No. 1:20-CR-77, ECF No. 63, Plea Agreement at 6 (S.D.

Ohio Oct. 29, 2020); United States v. Longstreth, No. 1:20-CR-77, ECF No. 64, Plea Agreement

at 6 (S.D. Ohio Oct. 29, 2020). 9

                           (b)      Campaign Finance

         The Complaint alleges the existence of “[i]llegally large and illegally concealed

campaign contributions” (¶ 70), but it never identifies any specific “contribution,” describes how

that “contribution” violated a specific law or regulation, explains how that “contribution” or its

“conceal[ment]” violated a specific law or regulation that required its disclosure, or connects

specific individuals to that “contribution.” The Complaint instead simply asserts that


         9
            Courts acknowledge that “[p]lea agreements between the United States and defendants do not represent
judicial findings of fact. They are, rather, contracts between the parties, and their wording is carefully weighed and
negotiated.” Evanston Ins. Co. v. Desert State Life Mgmt., 484 F. Supp. 3d 987, 1009 n.6 (D.N.M. 2020) (refusing
to admit factual statements in plea agreement for truth against parties other than the person against whom conviction
was entered). A party pleading guilty has relatively “less incentive to accurately state why he met each statutory
element” of a crime. Id.

                                                        -20-
FirstEnergy and its top executives “[v]iolated numerous state and federal laws and regulations”

(¶¶ 135(b), 136(b), 293), without citing any law or regulation establishing a relevant contribution

limitation or disclosure requirement.

       The Complaint trades on the intuition that “large” and anonymous contributions simply

must be (or maybe that they should be) illegal. But that is not correct. Social welfare

organizations established under Section 501(c)(4) of the Internal Revenue Code—such as

Generation Now (¶ 65)—are permitted to engage in issue advocacy and lobbying activities and

may make political contributions. NorCal Tea Party Patriots v. Internal Revenue Serv., 2016

WL 8202966, at *3 (S.D. Ohio Nov. 22, 2016) (“501(c)(4) organizations can engage in limited

political activity, but political activity cannot be the primary activity of the organization.”). And

“unlike Super PACs, 501(c)(4) organizations are not legally obligated to publicly disclose the

names of their donors or the amounts of the donations” except to the IRS with respect to

donations in excess of $5,000. Id. There are no limits to the amounts that a person may

contribute to a 501(c)(4). Id. at *4 (noting that, under the tax code, a 501(c)(4) organization can

accept unlimited contributions from all types of donors, including individuals).

       Because anonymous contributions in any amount to a 501(c)(4) organization are legal,

the Complaint cannot plead an underlying violation of law by asserting that the contributions to

Generation Now or other 501(c)(4)s were “large” or “concealed.” (¶ 70; ¶¶ 67, 80, 82, 93(b).)

To avoid dismissal, the Complaint would need to explain how the challenged contributions

actually violated a specific law or regulation, but it does not do so. See AXIS, 456 F. Supp. 2d at

585-86 (dismissing for failure to explain how practices that were not per se illegal “would

actually violate state or federal antitrust laws”); Menaldi I, 164 F. Supp. 3d at 579 (dismissing

for failure to explain how FCPA prohibited challenged transactions).



                                                -21-
                        (c)      RICO

        The Complaint also fails to allege specific facts as to each element of a RICO violation,

18 U.S.C. § 1962(c): “(1) conduct (2) of an enterprise (3) through a pattern of racketeering

activity.” Salinas v. United States, 522 U.S. 52, 62 (1997). “Racketeering activity” is defined as

any state or federal predicate act enumerated in 18 U.S.C. § 1961(1). “To establish . . . a ‘pattern

of racketeering activity,’” “a plaintiff must allege . . . at least two predicate acts of racketeering

activity occurring within a ten-year period,” Moon v. Harrison Piping Supply, 465 F.3d 719, 723

(6th Cir. 2006), and “show that the racketeering predicates are related, and that they amount to or

pose a threat of continued criminal activity,” H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239

(1989) (emphasis in original).

        Here, no particularized facts establish that any Defendant participated in racketeering

activity as defined by the statute, let alone a pattern of racketeering activity. Specified forms of

bribery qualify as predicate acts, 18 U.S.C. § 1961(1)(A-B), but, as explained above, the

Complaint does not plead bribery with particularity, supra at 14-20, and it never identifies any

other putative predicate act even in conclusory terms. See, e.g., Huff, 972 F. Supp. 2d at 1034-35

(dismissing RICO claim for failure to plead underlying act of bribery with particularity). On top

of that, the Complaint does not attempt to specify any facts that might establish that any

purported predicates “amount to or pose a threat of continued criminal activity,” H.J. Inc., 492

U.S. at 239. It is not enough to point to case documents from the federal prosecution of

Householder and his alleged affiliates, because those documents do not charge FirstEnergy or

any other Defendant here with any wrongdoing, much less with particularity, see supra at 19-20.

(¶¶ 69, 146-47, 171, 205, 215.) The Complaint does nothing more.




                                                  -22-
                         (d)    Conspiracy

          To the extent the Complaint could be read to assert an underlying conspiracy offense, it

does not plead the elements of that crime as to any Defendant, far less with particularity.

Conspiracy requires “an agreement to commit an unlawful act.” Iannelli v. United States, 420

U.S. 770, 777 (1975). “A conspirator must intend to further an endeavor which, if completed,

would satisfy all of the elements of a substantive criminal offense.” Salinas, 522 U.S. at 65.

Here, the Complaint alleges no particularized facts showing the existence of an agreement

between any Defendant and Householder or any member of his purported enterprise to commit

any underlying illegal act. Nor, as addressed above, does it plead facts establishing bribery

and/or campaign-finance predicate acts. And though the Complaint notes that the federal

criminal complaint charges Householder and his affiliates with misappropriating funds from

Generation Now (¶ 143) and charges Borges with bribing signature collectors (¶ 85), the federal

criminal complaint does not allege that anyone at FirstEnergy was involved in those acts or made

an agreement to carry out those acts, nor are there particularized facts in the Complaint to that

effect.

          For analogous reasons, the Complaint does not plead a RICO conspiracy, 18 U.S.C.

§ 1962(d). To allege a RICO conspiracy, a complaint “must successfully allege all the elements

of a RICO violation, as well as alleg[e] ‘the existence of an illicit agreement to violate the

substantive RICO provisions.’” Huff, 972 F. Supp. 2d at 1039. The Complaint does not allege a

substantive RICO violation, supra at 22, and it never pleads particularized facts regarding any

agreement to engage in a pattern of racketeering activity between any Defendant and any

member of Householder’s purported enterprise. See Huff, 972 F. Supp. 2d at 1040 (dismissing

“conclusory allegation” of RICO conspiracy based on campaign contributions and favorable

official action for failure “to allege ‘when, where, or between whom any alleged illicit agreement
                                                 -23-
was made”); Mierzwa v. Safe & Secure Self Storage, LLC, 493 F. App’x 273, 276 (3d Cir. 2012)

(“[C]onclusory allegations that defendants conspired for the purpose of defrauding him are

simply inadequate to plead a valid [RICO conspiracy] claim.”).

                                         *       *       *

       Because the Complaint fails to plead with particularity any underlying “illegal” acts by

any Defendant, it must be dismissed in its entirety.

II.    THE FAILURE TO STATE A CLAIM WITH RESPECT TO STATEMENTS OR
       ACTIONS IN 2017 AND 2018 IS ESPECIALLY GLARING.

       While the Complaint fails to allege with particularity that any Defendant ever joined an

illegal “scheme” or committed underlying illegal acts, as addressed above, that failure is

particularly stark as to 2017 and 2018. As to the 2017-2018 period, the Complaint merely asserts

that which needs to be pled with particularity: the existence of the “scheme” and the violation of

unidentified requirements purportedly governing disclosure of contributions. Such assertions fail

to plead with particularity the contemporaneous falsity of any statement or the deceptiveness of

any conduct in 2017 or 2018.

       A.      The Complaint Fails To Plead Contemporaneous Falsity As To Statements
               In 2017 And 2018.

               1.      There Is No Liability For “Fraud By Hindsight.”

       A touchstone of securities law is that there is no such thing as “fraud by hindsight.” E.g.,

Sinay v. Lamson & Sessions Co., 948 F.2d 1037, 1042 (6th Cir. 1991); Dailey, 551 F. App’x at

847 (affirming dismissal of securities claim where it was “hard to imagine a clearer example of

alleging ‘fraud by hindsight’”). A statement is actionable only if it was false or misleading at the

time it was made. E.g., Albert Fadem Tr., 334 F. Supp. 2d at 1024 (securities plaintiffs must

plead particularized facts showing “why the disputed statement was untrue or misleading when



                                               -24-
made”); In re Lululemon Sec. Litig., 14 F. Supp. 3d 553, 571 (S.D.N.Y. 2014) (“[W]ithout

contemporaneous falsity, there can be no fraud.”).

       The rationale for the rule against fraud-by-hindsight is straightforward. As this Court

explained, “[c]orporate officials need not be clairvoyant; they are only responsible for revealing

those material facts reasonably available to them.” Huntington, 674 F. Supp. 2d at 959 (quoting

Novak v. Kasaks, 216 F.3d 300, 314 (2d Cir. 2000)). So to adequately plead falsity, a securities

plaintiff must identify particularized facts that existed at the time of a challenged statement and

contradicted the statement. See, e.g., Dailey, 551 F. App’x at 846 (“One cannot disclose an

event which has not yet occurred.”); In re Century Bus. Servs. Sec. Litig., 2002 WL 32254513, at

*15 (N.D. Ohio Jun. 27, 2002) (“[P]laintiffs cannot show falsity merely by demonstrating that a

statement by a company officer later turned out to be wrong. Rather, . . . plaintiffs must allege

the existence of contemporaneous information inconsistent with the defendants’ statements.”).

               2.      The Complaint Lacks Particularized Facts Showing That Any
                       Statement In 2017 Or 2018 Was False When Made.

       Many of the purportedly false or misleading statements cannot possibly serve as

predicates for liability because they were made in 2017 and 2018—well before the alleged

misconduct relating to the introduction and adoption of HB6 in 2019.

                       (a)     Allegations About Events In 2017 And 2018

       The Complaint alleges that a number of statements in 2017 and 2018 (¶¶ 95-125) were

misleading because they: (i) did not disclose the “scheme” or violations of “numerous”

unidentified “state and federal laws and regulations and internal Company policies” in

furtherance of the supposed “scheme” (¶ 135(a)-(b)); (ii) misrepresented the “extent and nature”

of FirstEnergy’s political activities and contributions (¶ 135(c)); and (iii) did not disclose

FirstEnergy’s supposed failure “to maintain effective internal control over its financial reporting”


                                                 -25-
(¶ 135(d)). Paragraph 135 of the Complaint says that the “true facts” contradicting those alleged

misstatements are set forth at paragraphs 64-94 and 137-138, but those paragraphs deal almost

entirely with events that did not occur until 2019 or 2020. Those events cannot retroactively

render statements made years earlier false or misleading.

       Of the allegations at ¶¶ 64-94 and ¶¶ 137-138 that supposedly show the falsity of the

2017-2018 challenged statements, the only assertions about facts purportedly existing in 2017 or

2018 are these:

       •   Householder flew on the Company’s plane to the January 2017 presidential
           inauguration. (¶ 65.)

       •   Partners for Progress and Generation Now were formed in early 2017 and FirstEnergy
           allegedly contributed unspecified sums to them “in the months that followed.” (¶ 65.)

       •   An article in a Pennsylvania newspaper stated that FirstEnergy favored legislation to
           support nuclear power generation. (¶ 66.)

       •   FirstEnergy PAC made $464,204 in campaign contributions in 2017 and 2018, of
           which “about $149,000” was to the campaigns of Householder and his “allies.”
           (¶ 67.)

       •   “In 2017 and 2018, FirstEnergy contributed $2.9 million to the Bailout Scheme,
           which defendants concealed throughout the Class Period.” (¶ 67.)

       •   FirstEnergy PAC contributed $39,000 to “Friends of Larry Householder” between
           July 2017 and November 2019. (¶ 137.)

       •   A table lists “FirstEnergy’s Concealed Contributions” as $1,000,000 in 2017 and
           $1,400,000 in 2018, without any details about who the recipients were, when the
           contributions occurred, whether or why they were illegal, or why they supposedly
           should have been disclosed. (See ¶ 137.)

                      (b)     No Falsity In 2017 Or 2018 Due To HB6

       None of these allegations shows with particularity that any statement in 2017 or 2018 was

false or misleading at the time it was made. They do not show that any contribution by

FirstEnergy to a campaign or to a 501(c)(4) during those years violated any law or regulation

(nor does the Complaint identify any such law or regulation), and they do not demonstrate any

                                              -26-
violation of a specific disclosure requirement with regards to any specific contribution. Neither

do these allegations plead with particularity that there was any failure to maintain effective

controls over financial reporting that could have been disclosed in 2017 or 2018. 10

        As the Complaint admits, HB6 was not even introduced until April 2019 (¶ 73), was not

enacted until July 2019 (¶ 78), and the referendum campaign did not fail until October 2019

(¶ 86). See Dailey, 551 F. App’x at 846 (“One cannot disclose an event which has not yet

occurred.”). Allegations about those events or others in 2019 or 2020 cannot show that a

statement in 2017 or 2018 was false or misleading when made. See, e.g., Huntington, 674 F.

Supp. 2d at 964 (dismissing claims where allegations did “not demonstrate that when the public

statements were made, such statements were false”); Albert Fadem Tr., 334 F. Supp. 2d at 1026

(dismissing where plaintiffs did not allege the challenged statements “were false . . . when

Defendants made them”); In re Nat’l Auto Credit, Inc. Sec. Litig., 1999 WL 33919791, at *13

(N.D. Ohio Oct. 12, 1999) (dismissing where plaintiffs were unable to show that allegedly non-

disclosed conditions “existed earlier than disclosed”).

                          (c)     No Falsity Due To “Illegal” Act In 2017 Or 2018

        Nor does the Complaint plead any facts showing any “illegal” act in 2017 or 2018.

Allegations about the formation of Partners for Progress and Generation Now or alleged

contributions to those organizations lack any particularized facts about an explicit agreement to

exchange contributions to those organizations for specific official action. See Terry, 707 F.3d at

613 (“A donor who gives money in the hope of unspecified future assistance does not agree to

exchange payments for actions.”). None of the few allegations about events in 2017 and 2018


        10
          According to the Complaint, the “weakness” in internal controls that the Company identified in its
November 2020 amendment to FirstEnergy’s annual report for 2019 was related to the Randazzo payment “in early
2019.” (¶¶ 189-90; ¶¶ 191-94.) This payment did not even occur until after 2018; its omission could not possibly
have rendered any statement in 2018 or 2017 false or misleading when made.

                                                      -27-
show an explicit quid pro quo agreement. As for the flight with Householder in 2017, the

Complaint alleges only the fact of the flight and speculative characterization (“FirstEnergy was

already courting him”) (¶ 65), but securities claims “cannot rest on speculation.” See Albert

Fadem Tr., 334 F. Supp. 2d at 1028.

       Even if the Complaint had particularized facts showing the existence of an agreement of

some kind as of 2017 or 2018 (it does not), there are no factual allegations of a promise of

specific official action in 2017 or 2018. The purported official acts identified in the

Complaint—drafting, introducing, passing, and defending HB6 (¶ 64)—all occurred in 2019 and,

as the Complaint concedes, Householder was not even elected Speaker until January 2019 (¶ 71).

Before then, he was no in no position to offer anything beyond speculative assistance if his

supporters prevailed in primary contests and if he ultimately became Speaker. That is not

enough. See McDonnell, 136 S. Ct. at 2371-73. Likewise, distributing funds to promote

candidates for public office does not constitute official action, see supra at 14-15 (citing

McDonnell, 136 S. Ct. at 2371-73; Dimora v. United States, 973 F.3d 496, 504 (6th Cir. 2020)),

so the allegations about the FirstEnergy PAC expenditures in 2017 and 2018 (¶ 67), cannot

contribute to a showing of the requisite agreement. The Complaint’s allegations could suggest,

at most, some “‘generalized expectation of some future action,” but that is not enough; they must

establish an explicit promise of “specific official action.’” Huff, 972 F. Supp. 2d at 1034.

       The Complaint also lacks particularized facts showing that campaign-finance violations,

RICO offenses, or conspiracy occurred in 2017 or 2018. Absent allegations showing that a

predicate act of bribery occurred then, the Complaint has no basis on which to assert a

substantive RICO offense at that time. See Huff, 972 F. Supp. 2d at 1034-35. The Complaint

also never asserts that any contribution to Generation Now or other entities before 2019 (¶ 67(a))



                                                -28-
violated any law or regulation governing the size of contributions to 501(c)(4) organizations or

their disclosure. See supra at 20-29. And with no particularized facts that any Defendant

entered into an agreement with Householder and his affiliates to commit bribery or campaign-

finance violations in 2017 or 2018, the Complaint fails to allege that any conspiratorial

agreement existed then. Salinas, 522 U.S. at 65; Huff, 972 F. Supp. 2d at 1040; see also In re

Banco Bradesco S.A. Sec. Litig., 277 F. Supp. 3d 600, 632-35 (S.D.N.Y. 2017) (concluding

complaint failed to allege that purported bribery scheme existed in the first two years of the class

period, before communications explicitly mentioning a “bribe percentage” occurred).

       B.      The Complaint Lacks Particularized Facts Showing The Existence Of A
               Deceptive “Scheme” In 2017 Or 2018.

       As with the misstatement theory, the Complaint’s pleading failures for scheme liability

are particularly glaring as to the 2017-2018 time period. Just as there can be no “fraud-by-

hindsight” for alleged misstatements, conduct cannot form the basis of a scheme liability claim

unless it is inherently deceptive when performed and is directly connected to specific securities

transactions. In re Nat’l Century Fin. Enters., Inc. Fin. Inv. Litig., 553 F. Supp. 2d 902, 909

(S.D. Ohio 2008) (“Nat’l Century II”). (See also infra at 49-52, 55-59.)

       The conduct allegedly occurring in 2017 and 2018—a flight on a corporate jet, a

newspaper article, 501(c)(4) contributions, PAC expenditures, and communications with

Householder or his associates (see supra at 25-26; ¶¶ 65-67, 137, 222-23)—is not “market

activity” that bore upon any specific securities transaction or was directly connected to the sale

of securities. See Nat’l Century I, 2006 WL 469468, at *21 (to be actionable under Rule 10b-

5(a) or (c), an alleged “scheme” must have occurred “in connection with the purchase or sale of

securities”). Nor is any of that conduct “in itself deceptive.” Nat’l Century II, 553 F. Supp. 2d at

909. It is not enough to allege that defendants “simply engag[ed] in non-deceptive conduct that


                                                -29-
supports an overall deceptive scheme.” Id. Because the Complaint fails to plead particularized

facts of any illegal “scheme” in 2017 or 2018, see also supra at 25-29, there can be no scheme

liability claim for that period. Cf. In re Alstom SA, 406 F. Supp. 2d 433, 476-77 (S.D.N.Y. 2005)

(holding that plaintiffs failed to allege that a scheme was “undertaken in 1999” because

“[n]owhere in the Complaint is it alleged that [the defendant] underbid the [] contract in 1999

with the intention of understating costs”).

       The Complaint purports to sweep the bankruptcy proceedings within the alleged

“scheme.” (¶ 93(a).) But the bankruptcy proceedings and the relief sought there—even if

unpopular, controversial, or ultimately unsuccessful—cannot give rise to scheme liability

because those are not deceptive acts, see infra at 55-58. See, e.g., In re Parmalat Sec. Litig., 376

F. Supp. 2d 472, 505 (S.D.N.Y. 2005) (finding that loan transactions were not a deceptive device

because “there is no suggestion that the transactions were something other than what they

appeared to be”); S.E.C. v. Kelly, 817 F. Supp. 2d 340, 344 (S.D.N.Y. 2011) (no scheme liability

where “nothing inherently deceptive” about structure of transaction with counterparty).

III.   THE COMPLAINT FAILS TO PLEAD A STRONG INFERENCE OF SCIENTER.

       Plaintiffs’ failure to plead with particularity any underlying illegal act is fatal as to all of

their claims, but their Exchange Act claims also must be dismissed for the independent reason

that the Complaint does not plead particularized facts creating a strong inference of scienter.

       A.      Plaintiffs Must Plead Particularized Facts Showing Actual Knowledge.

       Scienter—“a mental state embracing intent to deceive, manipulate, or defraud,” Tellabs,

551 U.S. at 319—is an element of both a misrepresentation claim under Rule 10b-5(b) and a

scheme liability claim under parts (a) and (c). E.g., Konkol v. Diebold, Inc., 590 F.3d 390, 396

(6th Cir. 2009); Nat’l Century I, 2006 WL 469468, at *21; see also Friedman v. Endo Int’l PLC,

2018 WL 446189, at *3 (S.D.N.Y. Jan. 16, 2018) (scheme liability claims “are subject to the

                                                 -30-
PSLRA pleading standards with respect to scienter”); In re Parmalat Sec. Litig., 414 F. Supp. 2d

428, 438 (S.D.N.Y. 2006) (cited and quoted in Nat’l Century I) (addressing scienter for scheme

liability under PSLRA).

       The PSLRA erects a high bar to pleading scienter, requiring a complaint to “state with

particularity facts giving rise to a strong inference that the defendant acted with the required state

of mind.” 15 U.S.C. § 78u-4(b)(2). The inference “must be more than merely plausible or

reasonable.” Tellabs, 551 U.S. at 309. It must be “strong” and “cogent and at least as

compelling as any opposing inference of nonfraudulent intent.” Id.; see also Huntington, 674 F.

Supp. 2d at 975 (“[S]ome inference of scienter . . . is not enough. The PSLRA requires the

Complaint to establish a strong inference [of scienter].”). That means that, “speculative

reasoning—however persuasive its logic” is not enough to plead scienter. In re Omnicare, Inc.

Sec. Litig., 769 F.3d 455, 482 (6th Cir. 2014) (“Omnicare II”).

       Scienter requires particularized facts establishing that the defendants knew about or

recklessly disregarded the falsity of the alleged statements. Konkol, 590 F.3d 396. Recklessness

is “highly unreasonable conduct which is an extreme departure from the standards of ordinary

care. While the danger need not be known, it must at least be so obvious that any reasonable

man would have known of it.” PR Diamonds, Inc. v. Chandler, 364 F.3d 671, 681 (6th Cir.

2004). In the securities-fraud context, recklessness is a state “far from negligence” and “akin to

conscious disregard.” Id.; see also In re Comshare Inc. Sec. Litig., 183 F.3d 542, 550 & n.7 (6th

Cir. 1999) (same).

       In some circumstances, however, only actual knowledge will suffice. That is the case

here. In 2014, the Sixth Circuit provided clarification, to avoid “a theory of scienter at odds with

the PSLRA” that “could expose corporations to liability far beyond what Congress has



                                                -31-
authorized.” Omnicare II, 769 F.3d at 475-76. Under Omnicare II, where, as here, an alleged

misstatement concerns “soft information” about compliance matters, a plaintiff must plead facts

showing that the statement was “made with knowledge of its falsity.” Id. at 470. Soft

information “includes predictions and matters of opinion,” and Sixth Circuit caselaw holds that

the legality of a corporate practice constitutes soft information. In re Sofamor Danek Grp., Inc.,

123 F.3d 394, 402 (6th Cir. 1997) (“The legality of Sofamor Danek’s support for the non-profit

foundation . . . was a matter of opinion.”); Omnicare I, 583 F.3d at 945 (defendants’ views

“about the legality of their own actions” constitute “soft” information); City of Pontiac Gen.

Emps. Ret. Sys. v. Stryker Corp., 865 F. Supp. 2d 811, 822 (W.D. Mich. 2012) (“[A] company’s

statements of ‘legal compliance’ constitute ‘soft’ information.”). The same is true of inherently

speculative predictions about the possible legal consequences of corporate actions. See Zaluski,

527 F.3d at 575-76 (holding company had no duty to disclose that payments to legislator created

a voidable contract because “consequences” and “predictions” are “soft information”). It follows

that, to state a claim under Rule 10b-5(b) here, Plaintiffs must plead particularized facts showing

that each Exchange Act Defendant actually knew that the contributions at issue in the Complaint

were unlawful. As the Sixth Circuit made clear, a complaint does not plead actual knowledge by

making “general statements and heap[ing] inference upon inference.” Omnicare II, 769 F.3d at

482.

       Actual knowledge is likewise required to plead scienter for a scheme liability claim. As

discussed in section XX, Rule 10b-5(a) and (c) prohibits employing a “device,” “scheme” or

“artifice to defraud,” in connection with the purchase or sale of securities. 17 C.F.R. § 240.10b-

5(a), (c). As this Court recently acknowledged, “the Supreme Court has noted, terms like

‘device,’ ‘scheme,’ and ‘artifice,’ all connote knowing and intentional practices.” Emps. Ret.



                                               -32-
Sys. of the City of St. Louis v. Jones, 2021 WL 1890490, at *13 (S.D. Ohio May 11, 2021).

Thus, to state a claim for scheme liability, a plaintiff must allege that a defendant knowingly or

intentionally engaged in fraudulent conduct. See Halbert v. Credit Suisse AG, 402 F. Supp. 3d

1288, 1306 (N.D. Ala. 2019) (“Scheme liability claims, on the other hand, require . . . plaintiffs

[to] allege intentional or willful conduct designed to deceive or defraud investors by controlling

or artificially affecting the price of securities.”); In re Tupperware Brands Corp. Secs. Litig.,

2021 WL 247870, at *5 (M.D. Fla. Jan. 25, 2021) (“To plead scheme liability, a plaintiff must

allege intentional or willful conduct designed to deceive or defraud investors by controlling or

artificially affecting the price of securities.”).

        B.      Plaintiffs’ Failure To Plead Any Underlying Illegal Act With Particularity
                Precludes A Strong Inference Of Scienter.

        The Complaint’s failure to plead the allegedly illegal underlying acts with particularity,

see supra at 12-24, precludes the requisite scienter inference under even a recklessness standard,

far less the applicable standard of actual knowledge. The Exchange Act Defendants could not

have wrongfully concealed an explicit quid pro quo agreement that did not exist and could not

have improperly “schemed” to engage in legally permissible political speech. The Complaint’s

particularized facts do not give rise to the inference that any Defendant knew the contributions to

Generation Now were illegal. That inference “is simply not cogent and at least as compelling as

the opposing inference,” that the Exchange Act Defendants believed they were engaging in the

political process by legal means.

        As demonstrated above, the Complaint alleges no particularized facts regarding any

explicit quid pro quo agreement to exchange contributions for specific official action. See supra

at 14-20. Nor does it provide any specific facts suggesting that any Defendant knew or believed

that the contributions were illegal. The Complaint identifies no law or regulation that any


                                                     -33-
Defendant purportedly violated, and it does not allege that any Defendant knew that any

contribution to Generation Now was being improperly used by others. And even if allegations of

recklessness sufficed here (they do not), the Complaint is devoid of “specific facts that illustrate

‘red flags,’” Comshare, 183 F.3d at 553, indicating “obvious signs of fraud,” Albert Fadem Tr.,

334 F. Supp. 2d at 1011. These omissions preclude a strong inference of scienter. See Tellabs,

551 U.S. at 326 (omissions, ambiguities, and gaps in the factual allegations of a complaint count

against inferring scienter).

         The mere fact of the contributions cannot establish scienter, as it is legal for corporations

to contribute to 501(c)(4)s, see NorCal, 2016 WL 8202966, at *4 (noting that 501(c)(4)

organizations can accept unlimited contributions from all types of donors, including businesses).

The Complaint must plead specific facts showing that the Exchange Act Defendants knew that

the contributions were unlawful. Das v. Rio Tinto, PLC, 332 F. Supp. 3d 786, 814 (S.D.N.Y.

2018) (dismissing for failure to plead facts showing “that Defendants had any indication that the

[alleged bribery] payment was unlawful”); see also Kushner v. Beverly Enters., Inc., 317 F.3d

820, 831 (8th Cir. 2003) (affirming dismissal where no “clear allegation that the defendants

knew of the scheme and its illegal nature at the time they stated the belief that the company was

in compliance with the law”).

         But the Complaint pleads no such facts. Instead, it asserts that the Exchange Act

Defendants must have known the contributions were “illegal” based on their positions in the

Company and alleged “receipt of information reflecting the true facts” (¶ 208), phone contacts of

unspecified content (¶ 209), and media articles that never suggested any illegality (¶ 210). 11 But



         11
            “[L]obbying and corporate communications with elected officials occur on a regular basis . . . .
Ingratiation and access . . . are not corruption.” Citizens United, 558 U.S. at 355, 360. Moreover, the Complaint
pleads no facts about what was discussed during the alleged contacts.

                                                        -34-
“[w]here plaintiffs contend defendants had access to contrary facts, they must specifically

identify the reports or statements containing this information.” Albert Fadem Tr., 334 F. Supp.

2d at 1026; see also Zaluski, 527 F.3d at 574 (requiring allegations of “internal investigations

and reports” attesting to defendants’ knowledge); EveryWare, 175 F. Supp. 3d at 860 (dismissing

where complaint failed to identify any “internal reports, memoranda or the like” or “alleged that

any conversation took place . . . regarding other relevant factual information that would bear on

scienter”); Friedman, 2018 WL 446189, at *4 (generic allegations that “the Individual

Defendants held powerful positions at the company” are insufficient to show scienter for scheme

liability claim).

        Plaintiffs never identify anything—much less specific statements or communications—

that purports to show that the Exchange Act Defendants knew of (or even recklessly disregarded)

any explicit agreement to exchange contributions for specific official action, or otherwise knew

or believed the contributions were illegal. At most, Plaintiffs “allege[] that Defendants knew

about . . . payment[s] related to the project” of securing legislative support, “not that they knew

about . . . unlawful payment[s].” Das, 332 F. Supp. 3d at 817. Without particularized facts of

illegality, there can be no inference drawn that is cogent and more compelling than a non-

fraudulent one. See, e.g., Tyson, 275 F. Supp. 3d at 1004 (no scienter where, among other things,

“the more glaring omission is the lack of facts tying the individual Defendants to the

wrongdoing”); AXIS, 456 F. Supp. 2d at 592 (no scienter where the defendant abandoned the use

of contingent arrangements because it was “equally if not more plausible to infer that [the

defendant] was acting in its own economic self interest in terminating agreements that had

increased its cost of doing business”).




                                                -35-
       C.      The Complaint’s Allegations Purportedly Showing Scienter Fall Short.

       Scienter must be pleaded, with particularity, as to each Exchange Act Defendant. See,

e.g., In re Huffy Corp. Sec. Litig., 577 F. Supp. 2d 968, 986 (S.D. Ohio 2008) (adopting rationale

of Third, Fifth, and Seventh Circuits and concluding “[t]the group pleading doctrine is

antithetical to the pleading requirement for scienter set forth in . . . the PSLRA”). Nevertheless,

as to some Defendants, Plaintiffs do not even try. For example, as to Taylor, the Complaint is

silent as to his supposed intent to deceive and, for that reason alone, the Complaint must be

dismissed as to him. (See ¶¶ 220-230 (no allegations about Taylor).) As to the other Exchange

Act Defendants, the Complaint offers nothing more than legally insufficient allegations.

       Plaintiffs assert that scienter is shown by: (i) purported “admissions of wrongdoing”

(¶¶ 215-18) and lawsuits (¶¶ 238-40); (ii) supposed “participation” in the “Bailout Scheme”

(¶¶ 208-209, 219-30) and alleged efforts to conceal it (¶¶ 211, 231-33); (iii) the “magnitude” of

the alleged scheme (¶¶ 236-37); and (iv) allegations about debt and equity offerings (¶¶ 241-44),

the corporate credit rating (¶¶ 245-47), and performance-based compensation (¶¶ 213, 248); and

(v) supposed improper insider trading (¶¶ 213, 250-51). (See also ¶ 214.) These allegations

amount to an attempt to plead scienter based on hindsight, generally held business goals, and

generic motives, and do not establish an inference of knowledge or reckless indifference as to the

purported illegality of the contributions that is “cogent and at least as compelling as the opposing

inference” that the Exchange Act Defendants viewed the contributions as a lawful exercise of

First Amendment rights. See EveryWare, 175 F. Supp. 3d at 857.

               1.      Allegations About After-The-Fact “Admissions,” Employment
                       Actions, And Lawsuits Do Not Plead Scienter.

       The after-the-fact events identified in the Complaint (¶¶ 215-218, 238-40) cannot show

scienter, which requires “specific allegations showing that the Defendants either knew of or


                                                -36-
recklessly disregarded the falsity of their own statements at the time the statements were made.”

Konkol, 590 F.3d at 403; La. Sch. Emps. Ret. Sys. v. Ernst & Young, LLP, 622 F.3d 471, 485 (6th

Cir. 2010); EveryWare, 175 F. Supp. 3d at 858-59; Albert Fadem Tr., 334 F. Supp. 2d at 1017-

18; see also Nat’l Century II, 553 F. Supp. 2d at 911 (a deceptive act must be committed with

scienter).

        The purported “admissions” of FirstEnergy identified in the Complaint (¶¶ 215-218) do

not admit any illegality, but instead indicate that violations of aspirational internal policies

occurred (¶ 216), which does not suffice for scienter. Das, 332 F. Supp. 3d at 815 (rejecting

sufficiency of allegations of purported admissions because defendants “admitted violations of

ethical obligations, not legal ones”). Plaintiffs mischaracterize what FirstEnergy said by

implying that FirstEnergy disclosed that the Randazzo payment and consulting agreement was an

“illicit” part of an “improper influence campaign” (¶ 216), when, in reality, the Company said

the payment “violated certain FirstEnergy policies and its code of conduct” (Ex. B, Form 10-Q at

86). See Schiro, 438 F. Supp. 3d at 198-99 (dismissing where plaintiffs mischaracterized

company as having “announc[ed] that an internal probe had uncovered that two senior executives

had improperly paid $20 million in bribes,” when company had only admitted that payments

were made “in violation of . . . internal policies”). The statements from Jones (¶ 218) at most

show that he knew the contributions were made, not that they were illegal.

        What Generation Now and Longstreth said in their plea agreements (¶ 215) also does not

show with particularity that any Defendant knew about their purportedly illicit acts. Those

admissions show only that Generation Now and Longstreth thought it would be in their own self-

interest to make the admissions sought by the government in exchange for favorable treatment.

That fact is entirely consistent with the inference that the Exchange Act Defendants here



                                                 -37-
believed at all times that the contributions were legal exercises of the right to make contributions

to a 501(c)(4) entity. See EveryWare, 175 F. Supp. 3d at 859 (dismissing based on scienter

because it was “simply more likely that the . . . Defendants’ actions indicated an intent for the

Company to succeed”); Kushner, 317 F.3d at 829 (“[T]he guilty plea cannot be used to

demonstrate knowledge by hindsight.”).

        This is illustrated by a decision by the Ninth Circuit. In considering settlement

agreements with the DOJ and SEC in which a company “accepted responsibility” for illegal

payments in violation of the Foreign Corrupt Practices Act, the court found that the agreements

failed to give rise to a strong inference of scienter as to the CEO of the company. Glazer Cap.

Mgmt., LP v. Magistri, 549 F.3d 736, 748 (9th Cir. 2008). The court’s reasoning is instructive:

                First, the admissions in these settlement agreements were largely
                legal conclusions, rather than particularized facts giving rise to a
                strong inference of scienter. More importantly, even if [the
                company] accepted the SEC’s and DOJ’s statements of fact, there
                is nothing in either settlement agreement that would support the
                conclusion that [the CEO] had actual knowledge of the violations.
                As discussed earlier, the mere fact that someone at [the company]
                had knowledge of the illegal transactions is not sufficient to satisfy
                the scienter pleading requirements of the PSLRA, given the
                context and limited nature of the misrepresentations at issue.

Id. at 748-49 (affirming dismissal). Those same factors apply with even greater force here

because the plea agreements in question do not involve either FirstEnergy or any Defendant. See

also Teamsters Local 456 Pens. Fund v. Universal Health Servs., 2020 WL 2063474, at *15

(E.D. Pa. Apr. 29, 2020) (“Settlement agreements are not enough to meet the pleading

requirements of the PSLRA.”); In re DNTW Chartered Accountants Sec. Litig., 172 F. Supp. 3d

675, 690 (S.D.N.Y. 2016) (“The fact that this Court can consider information drawn from the

SEC’s cease and desist order does not mean, of course, that such information will necessarily be

sufficient to establish scienter.”).


                                                 -38-
       The late-2020 employment actions identified in the Complaint (¶¶ 216-17) also cannot

show scienter as to statements or actions occurring months or years earlier. The Das court, for

example, held that the termination of company executives could “not give rise to a cogent

inference of scienter,” even though “the terminations were linked to the alleged fraud.” 332 F.

Supp. 3d at 814-15. As the court explained ,“the fact that Rio Tinto fired [the executive] says

nothing of [the executive’s] state of mind” and concluded that the fact that “Rio Tinto took

disciplinary action . . . does not lead to a cogent inference that the Company was aware of, or

consciously disregarded, any fraud at the time it was committed.” Id. at 815 (noting that “[e]ven

if the terminations could give rise to an inference of scienter . . . terminations alone are

insufficient to satisfy this element”); see also In re Extreme Networks, Inc. Secs. Litig., 2018 WL

1411129, at *31 (N.D. Cal. Mar. 21, 2018) (concluding that an executive’s departure that was

“linked . . . to integration problems” did not support a strong inference of scienter because “the

securities laws cannot be used to punish and deter companies from making leadership changes”);

Tadros v. Celladon Corp., 2016 WL 5870002, at *13 (S.D. Cal. Oct. 7, 2016) (finding that

“whether [the former CEO] was terminated or resigned after Mydicar failed to pass CUPID 2

testing is not evidence of scienter on its own” because most major stock losses are accompanied

by management departures); Fla. Carpenters Reg’l Council Pension Plan v. Eaton Corp., 964 F.

Supp. 2d 875, 889 (N.D. Ohio 2013) (“the fact that Eaton terminated these [employees] does not

support a plausible inference that Eaton intended to defraud investors in any way”), aff’d sub

nom. In re KBC Asset Mgmt. N.V., 572 F. App’x 356 (6th Cir. 2014). Furthermore, those actions

were based on violations of internal policies (¶ 216), and thus do not show any prior awareness

of illegality. Das, 332 F. Supp. 3d at 815 (holding terminations for violations of internal policies




                                                 -39-
did not support “the inference that Rio Tinto knew that the executives violated the law, which of

course is narrower than a company’s ethics code”).

       The lawsuits and investigations that followed the criminal complaint against Householder

and his associates (¶¶ 238-40) also do not show via 20/20 hindsight that the Exchange Act

Defendants knew of or recklessly disregarded the purported illegality of the contributions. As

the Sixth Circuit has held, “[t]he mere existence of an SEC investigation does not suggest that

any of the allegedly false statements were actually false . . . [,] nor does it add an inference of

scienter.” Konkol, 590 F.3d at 402; see also In re Ceridian Corp. Sec. Litig., 542 F.3d 240, 248-

29 (8th Cir. 2008) (similar); Albert Fadem Tr., 334 F. Supp. 2d at 1009 (rejecting allegation that

later investigation implied scienter at an earlier time). Lawsuits likewise do not contribute to a

showing of scienter. See, e.g., Southland, 365 F.3d at 383 (“[B]ecause fraud cannot be proved

by hindsight, subsequent lawsuits are unpersuasive of scienter, as they do not show what any

particular individual knew, or was severely reckless in not knowing, at the time the [alleged

illegal agreements] were entered into.”).

               2.      Allegations About A “Direct Participation” And A “Cover Up” Do
                       Not Plead Scienter.

       Plaintiffs’ assertions of “direct participation” by the Exchange Act Defendants in the

supposed scheme (¶¶ 208-09, 219-30) amount to an attempt to impute scienter based on

employment titles in the face of binding precedent foreclosing that inference. PR Diamonds, 364

F.3d at 688 (“[F]raudulent intent cannot be inferred merely from the Individual Defendants’

positions in the Company and alleged access to information.”); Konkol, 590 F.3d at 397 (same);

Huntington, 674 F. Supp. 2d at 971 (same). In this circumstance, “[t]he standard from Tellabs

requires specific facts” showing information was presented to Defendants “in such a way that it

would have been obvious” that the contributions were made pursuant to an explicit quid pro quo


                                                 -40-
agreement in exchange for specific official action (or were obviously illegal). Konkol, 590 F.3d

at 398.

          Likewise, Plaintiffs’ attempt to establish scienter because the Exchange Act Defendants

“held themselves out as the persons most knowledgeable about [political activities and nuclear

operations, among other subjects] and regularly presented on them to investors” (¶ 219) ignores

precedent holding that such allegations can be probative of scienter only in conjunction with

“contemporaneous facts showing that the Defendants knew . . . that [their] statements were

false.” Konkol, 590 F.3d at 402. The Complaint is devoid of facts showing the Exchange Act

Defendants knew that the contributions were illegal, so the fact that some Defendants may have

been aware of the Company’s promotion of nuclear-power legislation shows nothing. Das, 332

F. Supp. 3d at 814 (knowledge of putatively legitimate practices does not support scienter.).

          The allegations about Pearson and Strah fit this mold, in particular. 12 The Complaint

identifies Pearson’s and Strah’s titles and “responsibilit[ies]” (¶¶ 225-26), but never alleges facts

connecting either of them with the contributions to Generation Now, much less facts showing

they knew of (or even recklessly disregarded) the existence of a quid pro quo agreement or other

basis of illegality. Plaintiffs offer the unsupported assertion that they “reviewed and determined

the Company’s accounting for its payments and political contributions, including FirstEnergy’s

illicit payments to the Bailout Scheme.” (Id.) But the Complaint never identifies any specific

report or document that Pearson or Strah examined, or pleads any facts about what they saw or

did not see in their purported review of the Company’s political contributions or what

conclusions they did or did not draw from that information, or identifies any supposed


          12
             Plaintiffs make no allegations about purported “participation” by Taylor, implicitly conceding their
inability to plead scienter as to Taylor. See, e.g., Huntington, 674 F. Supp. 2d at 972 n.10 (“the signatures on the
Sarbanes-Oxley certifications are not probative of scienter” where the complaint fails to plead facts showing or
suggesting knowledge of any falsity “at the time they signed the certifications”).

                                                         -41-
“accounting” errors. Albert Fadem Tr., 334 F. Supp. 2d at 1026; see also Ulbricht v. Ternium

S.A., 2020 WL 5517313, at *11 n.8 (E.D.N.Y. Sept. 14, 2020) (dismissing for failure to plead

allegations tying individual defendants to alleged bribery scheme).

       The Complaint’s assertion that “FirstEnergy would later admit that its internal controls

were deficient in direct contradiction of” statements certified by Pearson and Strah gets Plaintiffs

nowhere (¶¶ 225-26), because the Complaint has no allegations that either of them was alerted to

any facts at the time the certifications were made suggesting that they were false. See Ley v.

Visteon Corp., 543 F.3d 801, 812 (6th Cir. 2008) (holding allegations about SOX certifications

not probative of scienter because “[p]laintiffs fail[ed] to allege facts to suggest that [defendants]

had reason to know or should have suspected accounting irregularities or other ‘red flags’ at the

time they signed the certifications”), abrogated on other grounds by Matrixx Initiatives, Inc. v.

Siracusano, 563 U.S. 27, 48-49 (2011)); Das, 332 F. Supp. 3d at 816 (holding that where

complaint fails to allege “actual knowledge that the payment was unlawful, it undermines the

allegations that they knew that the SOX certifications were false”); see also Zucco Partners, LLC

v. Digimarc Corp., 552 F.3d 981, 1003-04 (9th Cir. 2009) (“Boilerplate language in a

corporation’s 10–K form, or required certifications under Sarbanes-Oxley section 302(a),

however, add nothing substantial to the scienter calculus.”) (collecting cases).

       Apart from the insufficient allegations about plea agreements and terminations (see supra

at 19-20, 39-40), all Plaintiffs offer to support their assertion that the Exchange Act Defendants

“cover[ed] up” the supposed “Bailout Scheme” is the fact that contributions were made through

501(c)(4) organizations (¶ 233). But exercising the legal right to donate anonymously to a

501(c)(4) organization does nothing to support an inference of scienter, whether recklessness or




                                                 -42-
actual knowledge is required. Das, 332 F. Supp. 3d at 814 (presumptively legal activities do not

imply scienter).

               3.      Allegations About “Magnitude” Of Contributions To Generation Now
                       Do Not Plead Scienter.

       The Complaint’s attempt to plead scienter based on “magnitude” (¶¶ 236-37) ignores

Sixth Circuit precedent holding that the magnitude of an alleged fraud does not contribute to an

inference of scienter. See, e.g., Fidel v. Farley, 392 F.3d 220, 231 (6th Cir. 2004) (“Allowing an

inference of scienter based on the magnitude of fraud would eviscerate the principle that

accounting errors alone cannot justify a finding of scienter . . . . It would also allow the court to

engage in speculation and hindsight, both of which are counter to the PSLRA’s mandates.”); La.

Sch. Emp’s. Ret. Sys., 622 F.3d at 483-84 (“to infer scienter solely from the magnitude of the

fraud would require hindsight, speculation, and conjecture”); In re Diebold Sec. Litig., 2008 WL

3927467, at *10 (N.D. Ohio Aug. 22, 2008) (“In the Sixth Circuit, however, the magnitude of the

financial fraud is not a factor in determining defendants’ scienter.”).

       Beyond that, the Complaint vaguely asserts that the Generation Now contributions came

from FirstEnergy “affiliates” or “entities” (¶¶ 64, 67, 82, 93(d), 135(a), 136(a), 137, 164),

without specifying how much came from FirstEnergy versus, for example, Energy Harbor Corp.

(formerly FirstEnergy Solutions Corp.), a separate corporation that has been under separate

management with a separate board since 2016. Absent such details, the Complaint’s allegations

make it impossible to ascertain what contributions were actually made by FirstEnergy. (See,

e.g., ¶ 153 (alleging that Jones said that only 25% of the Generation Now contributions

referenced in the federal criminal complaint were from FirstEnergy, and not disputing the truth

of his statement).) That, too, undercuts any inference of scienter based on the supposed

“magnitude” of the contributions.


                                                 -43-
        Nevertheless, the “magnitude” allegations effectively ask the Court to infer that

Defendants must have known that the contributions were illegal because they totaled, from

various sources, “more than $60 million.” (¶ 236.) But assertions that certain Defendants “must

have known” do not suffice, because particularized facts of actual knowledge are required.

Furthermore, as the Complaint concedes, the total contributions occurred in installments over the

course of three years (¶¶ 67, 236), and even the entire $60 million figure was a miniscule fraction

(less than 0.25%) of the Company’s $33 billion revenue over the three-year period during which

the contributions were made; this is hardly the kind of “in your face fact[] that cr[ies] out

scienter.” Konkol, 590 F.3d at 400 (affirming dismissal and explaining that for “a multi-billion-

dollar company . . . the amount of improperly recognized revenue would have to be significant”

in order to support a finding of scienter); Huntington, 674 F. Supp. 2d at 970 (rejecting assertion

of scienter where business “was just 3.9 percent of Huntington’s total loans and leases and just

2.8 percent of Huntington’s total assets”); Ley, 543 F.3d at 812 (describing overstatement of

revenues by 5.68% as “such a low percentage” that it “does not strike us as the type of ‘in your

face facts’ that ‘cry out’ scienter”).

        Moreover, a bribery scheme “is not the type of conduct from which scienter can be

strongly inferred by the magnitude of” the contributions “alone.” Konkol, 590 F.3d at 400

(holding same held for revenue-recognition scheme because “it would have been spread out

among . . . different sources and therefore would not likely have served to put the Defendants on

notice of the misstated revenue.”). To know that contributions constituted bribes, it would not be

enough to know of their existence and amounts. One would have to know that the contributions

were being made pursuant to an explicit quid pro quo agreement in which a public official

promised specific official action in exchange for the contributions. To anyone not a party to



                                                -44-
such agreement (or who was not otherwise informed of it), it certainly would not be “obvious”

that the contributions were being made pursuant to such an agreement. PR Diamonds, 364 F.3d

at 681. But the Complaint has no details concerning the formation or terms of any such

agreement, no explanation of how any supposed illegality could have been detected from an

examination of a paper record of the contributions, or any specific facts connecting any

Defendant with any meeting, memorandum, or other communication that disclosed the existence

of such agreement. Konkol, 590 F.3d at 401 (affirming dismissal where “[n]owhere in the

complaint . . . are any specific facts alleged that connect the Defendants to the revenue-

recognition scheme”). This lack of details precludes any inference of recklessness, far less actual

knowledge.

               4.      Allegations About Capital, Credit Ratings, And Performance-Based
                       Compensation Do Not Plead Scienter.

       Plaintiffs attempt to establish scienter by pointing to (i) the issuance of debt and equity by

FirstEnergy (¶¶ 241-44), (ii) the Company’s desire to maintain a good credit rating (¶¶ 245-47),

and (iii) the existence of performance-based compensation (¶¶ 248-51). The Sixth Circuit,

however, has held that allegations of “motives common to corporations and executives

generally” do “not comprise a motive for fraud.” PR Diamonds, 364 F.3d at 690; EveryWare,

175 F. Supp. 3d at 859 (same). These generic motives are as general as they come, and do not

support a strong inference of scienter. See, e.g., Russo v. Bruce, 777 F. Supp. 2d 505, 520

(S.D.N.Y. 2011) (collecting cases) (“The bald allegation that defendants committed fraud out of

a desire to raise capital for the corporation does not give rise to a strong inference of fraudulent

intent.”); Local 295/Local 851, 731 F. Supp. 2d at 720-21 (rejecting allegations of motive to

reduce borrowing costs and explaining that the “desire to maintain [a] company’s credit rating

[is] universal to all corporate executives”); EveryWare, 175 F. Supp. 3d at 859 (holding


                                                 -45-
“executive’s desire for the company to appear successful and . . . to protect his position in the

company and increase his compensation” is a generic motive); id. (dismissing based on scienter

because it was “simply more likely that the . . . Defendants’ actions indicated an intent for the

Company to succeed”). If allegations like these sufficed for scienter, the PSLRA’s heightened

pleading requirement would be meaningless. 13

         Plaintiffs attempt to tie certain Officer Defendants’ performance compensation to the

improvement of credit ratings by asserting that compensation was “largely based on

FirstEnergy’s reported financial results” (¶¶ 248-49), but the Complaint has no particularized

facts to back up this assertion. See Comshare, 183 F.3d at 553 (“[A]llegations rest[ing] on mere

information and belief . . . cannot support a strong inference of scienter.”). And, even if this

connection were substantiated with specific facts, the desire to improve reported results and

obtain performance compensation are too generic to show even recklessness, far less actual

acknowledge. EveryWare, 175 F. Supp. 3d at 859. Finally, Plaintiffs do not allege that any of

FirstEnergy’s “reported financial results” were misstated.

                  5.       Allegations About Stock Trading Do Not Plead Scienter.

         The allegations of insider trading (¶¶ 250-51) are equally inadequate to establish scienter.

“Because corporate executives are often paid in stock and stock options, they will naturally trade

those securities in the normal course of events, and courts will not infer fraudulent intent from

the mere fact that some officers sold stock.” Ind. Elec. Workers’ Pension Tr. Fund IBEW v.

Shaw Grp., Inc., 537 F.3d 527, 543 (5th Cir. 2008). But that is all the Complaint offers;


         13
            The Complaint obliquely notes that FirstEnergy used capital from debt offerings to service loans (¶¶ 242-
43), but “no specific facts have been plead . . . to show that Defendants were motivated to commit fraud based on
the fear of defaulting on certain loan covenants and credit agreements,” so this assertion fails to establish scienter.
In re Goodyear Tire & Rubber Co. Sec. Litig., 436 F. Supp. 2d 873, 899 (N.D. Ohio 2006); see also Ley, 543 F.3d at
813-14 (“Plaintiffs fail to allege any particularized facts or details related to the notes offering that support an
inference of scienter.”).

                                                         -46-
Plaintiffs allege that certain Officer Defendants—and, at that, only four of eleven—sold stock

during the three-year-plus period. (¶ 250.) That so few Officer Defendants sold stock during the

lengthy class period, despite their supposed knowledge that the stock price was artificially

inflated (e.g., id.), is inconsistent with scienter. See In re Burlington Coat Factory Sec. Litig.,

114 F.3d 1410, 1424 (3d Cir. 1997) (no inference of scienter where only three of the five

defendants sold stock); see also Pugh v. Tribune Co., 521 F.3d 686, 695 (7th Cir. 2008)

(“Tellabs instructs us to consider all potential inferences, and the fact that the defendants are not

alleged to have sold the stock at the inflated prices meant that they stood to lose a lot of money if

the value of [the company’s] stock fell.”).

       Furthermore, though the Complaint does not acknowledge it, several Officer Defendants

increased their shareholdings during the class period. The Complaint alleges no sales by Taylor

or Strah. In fact, they both substantially increased their shareholdings during the class period:

Strah ended the period with holdings around ten times larger than at the start of the class period,

and Taylor’s holdings approximately doubled. (Compare Ex. C, Form 4 (Feb. 22, 2017)

(reflecting Strah’s ownership of 6,318 direct shares), with Ex. D, Form 4 (Mar. 3, 2020)

(reflecting Strah’s ownership of 64,223 direct shares); compare Ex. E, Form 4 (Feb. 22, 2017)

(reflecting Taylor’s ownership of 7,632 direct shares); with Ex. F, Form 4 (Mar. 5, 2018)

(reflecting Taylor’s ownership of 15,290 direct shares).)

       Importantly, the four Defendants identified as having sold shares during the class period

were all net acquirers of FirstEnergy stock, which undermines any inference of scienter. See,

e.g., Smallen v. Western Union Co., 950 F.3d 1297, 1310-11 (10th Cir. 2020) (“Both

[defendants] increased their aggregate holdings during the Class Period, and their respective

sales yield from the identified transactions constituted only a fraction of their respective



                                                 -47-
holdings. These factors militate against an inference of scienter.”); Fire & Police Pension Ass’n

of Colo. v. Abiomed, Inc., 778 F.3d 228, 246 (1st Cir. 2015) (9.2% increase in class-period

holdings “negate[d] any inference that [the defendant] had a motive to artificially inflate

Abiomed’s stock”); Avon Pension Fund v. GlaxoSmithKline PLC, 343 F. App’x 671, 673 (2d

Cir. 2009) (no scienter where “[t]hree of the four individual defendants increased their net

holdings of GSK stock during the class period”). 14 See also Tyson, 275 F. Supp. 3d at 1001

(“[T]he Court does not believe that stock sold by defendants for tax purposes following the

vesting of performance shares is at all probative of scienter.”).

         As Pearson’s trading history exemplifies, the allegations in the Complaint preclude, not

support, a scienter inference. Plaintiffs note that he sold 40,000 shares on January 9, 2019,

which they claim amounted to a 28% sell off (¶ 250), but they neglect to mention that he

acquired an additional 50,312 shares on March 1, 2019, ending the class period with nearly

150% of his January 9 direct holdings and 250% of his holdings at the start of the Class Period.

(Compare Ex. G, Form 4 (Feb. 22, 2017) (reporting 62,911 direct common shares and 37,005

indirect), with Ex. H, Form 4 (Mar. 5, 2019) (reflecting ownership of 155,624 direct and 40,737

indirect shares).) Pearson thus was a net acquirer of FirstEnergy stock. The same is true of the

other Defendants identified as having made sales during the class period. As a result, there is no

basis for inferring scienter based on the sales. See EveryWare, 175 F. Supp. 3d at 857 (rejecting

inference of scienter as to net acquirer of stock).


         14
            See also Zamir v. Bridgepoint Educ., Inc., 2016 WL 3971400, at *10 (S.D. Cal. July 25, 2016) (“That
[the defendants] increased their holdings gives rise to an inference of good faith, not scienter.”); Glaser v. The9,
Ltd., 772 F. Supp. 2d 573, 592 (S.D.N.Y. 2011) (holding that insider trading allegations failed to support an
inference of scienter, in part, because “even if [the defendant] realized some proceeds (and profit) from stock sales
during the Class Period, his holdings of The9 ADS actually increased during that period from 6.6 million shares to 7
million shares”); In re Sun Healthcare Group, Inc. Sec. Litig., 181 F. Supp. 2d 1283, 1296 (D.N.M. 2002) (insider
trading allegations insufficient to plead scienter where insiders collectively purchased more shares than they sold
during the class period); In re First Union Corp. Sec. Litig., 128 F. Supp. 2d 871, 898–99 (W.D.N.C. 2001)
(increase in holdings by two insiders during the class period demonstrated the absence of scienter).

                                                        -48-
IV.    THE COMPLAINT FAILS TO STATE A CLAIM FOR SCHEME LIABILITY.

       As discussed in sections I-III, supra at 9-48, the Complaint fails to plead the underlying

“illegal acts” with particularity and fails to plead scienter. Each independently requires dismissal

of the scheme liability claim (as well as the misstatement claim). The scheme liability claim

should be dismissed for at least three additional reasons as well: (1) the purported scheme did

not occur “in connection with” any securities transaction; (2) Plaintiffs have not sufficiently

alleged reliance on any scheme; and (3) the alleged conduct is not inherently “deceptive.”

       A.      The Complaint Fails To Plead That The Alleged Scheme Occurred “In
               Connection With” The Purchase Or Sale Of Any Security.

       By its plain language, Rule 10b-5 prohibits only fraudulent conduct “in connection with

the purchase or sale of any security.” 17 C.F.R. § 240.10b-5. To be actionable under Rule 10b-

5(a) or (c), then, an alleged “scheme” must have occurred “in connection with the purchase or

sale of securities.” Nat’l Century I, 2006 WL 469468, at *21; see also Hawaii Ironworkers

Annuity Tr. Fund v. Cole, 296 F.R.D. 549, 553-54 (N.D. Ohio 2013) (Rule 10b-5(a) and (c)

claims require “a connection between the deceptive act and the purchase or sale of a security”);

Menaldi v. Och-Ziff Cap. Mgmt. Grp. LLC, 277 F. Supp. 3d 500, 518 (S.D.N.Y. 2017) (“Menaldi

II”) (a scheme is actionable only if “the fraud itself [is] integral to the purchase and sale of the

securities in question”).

       In practice, this requirement means that a purported scheme must involve a defendant’s

activity in the securities market. See, e.g., La. Mun. Police Emps. Ret. Sys. v. KPMG, LLP, 2012

WL 3903335, at *3 (N.D. Ohio Aug. 31, 2012) (Rule 10b-5(a) and (c) prohibit “activities

designed to affect the price of a security artificially by simulating market activity that does not

reflect genuine investor demand”); In re Cannavest Corp. Sec. Litig., 307 F. Supp. 3d 222, 249

(S.D.N.Y. 2018) (“requir[ing] a showing that” defendants “engaged in market activity aimed at


                                                 -49-
deceiving investors as to how other market participants have valued a security”) (emphasis in

original). As this Court has recognized, appellate courts “have characterized Rule 10b-5(a) and

(c) as concerning ‘market manipulation.’” Nat’l Century I, 2006 WL 469468, at *21 (citing

Lentell v. Merrill Lynch & Co., Inc., 396 F.3d 161, 177-78 (2d Cir. 2005); Corsair Capital

Partners, L.P. v. Wedbush Morgan Secs., Inc., 24 F. App’x 795, 798 (9th Cir. 2001)). Market

manipulation requires “some market activity, such as ‘wash sales, matched orders, or rigged

prices.’” Cannavest, 307 F. Supp. 3d at 249; see also Albert Fadem Tr., 334 F. Supp. 2d at 992.

Mere allegations that a supposed scheme inflated the market price of a publicly traded stock do

not suffice. E.g., Nat’l Century I, 2006 WL 469468, at *21 (rejecting allegations “that the

[defendants] employed a scheme to inflate the market price of [the company’s] common stock”);

Iron Workers Local No. 25 Pension Fund v. Oshkosh Corp., 2010 WL 1287058, at *24 (E.D.

Wis. Mar. 30, 2010) (dismissing market manipulation claim where plaintiff alleged that

defendants “artificially inflate[d] the market price of [the company’s] common stock”); Menaldi

II, 277 F. Supp. 3d at 518 (“Not all conduct that negatively affects a company’s stock price is

actionable as federal securities fraud.”). Thus, when this Court has upheld scheme liability

claims, the cases have involved acts that bore upon specific securities transactions or were

directly connected to the sale of securities. See, e.g., S.E.C. v. Sierra Brokerage Servs., Inc., 608

F. Supp. 2d 923, 960 (S.D. Ohio 2009) (“market manipulation counts” alleged defendants

engaged “in a ‘pump-and-dump’ scheme which artificially inflated the market price”), aff’d, 712

F.3d 321 (6th Cir. 2013).

       Plaintiffs here do not contend that any Defendant engaged in market manipulation, and

the Complaint alleges no facts about any market activity by any Defendant, such as wash sales,

matched orders, or rigged prices. The Complaint instead asserts that certain Defendants



                                                -50-
“participat[ed] in and facilitat[ed] the Bailout Scheme,” which purportedly entailed contributing

money to promote the enactment of HB6 and to defeat the subsequent repeal effort. (¶¶ 67, 70,

81, 93, 269.) But Plaintiffs never tie their allegations about “bribery” or campaign contributions

to any securities transaction. (See, e.g., ¶¶ 3, 70, 93, 142, 144, 209, 233, 236-37, 292.) Without

particularized allegations showing that the purported bribery at the heart of the “scheme” was

undertaken in connection with a securities transaction, the scheme liability claim fails. See

Menaldi II, 277 F. Supp. 3d at 518 (holding allegations that defendant “engaged in extensive

bribery” failed to state a scheme liability claim because there was no “necessary link between his

deceptive acts and the purchase or sale of securities” and the complaint “fail[ed] to explain how

the proscribed schemes or acts were done in connection with the purchase or sale of any

security”).

       Nor does the Complaint allege that any action taken in connection with the alleged

scheme was “done to affect [FirstEnergy’s] stock price, such as schemes to manipulate stock

prices or to disseminate false information about the quality of an investment.” S.E.C. v.

Narayan, 2017 WL 4652063, at *3, *10 (N.D. Tex. Aug. 28, 2017) (no scheme liability where

defendants allegedly “engag[ed] in an illegal kickback scheme” because there were “no

allegations that their actions were done to affect [the company’s] stock price . . . [or] to deceive

investors”); see also Nat’l Century I, 2006 WL 469468, at *22 (rejecting scheme liability theory

when complaint did not allege “how [the] scheme affected the value of [company]’s stock or

otherwise manipulated the market” and there were thus “no allegations that the fraud was in

connection with Plaintiffs’ purchase of securities”). Rather than manipulate the stock price, the

Complaint alleges that the purpose of the purported scheme was to win passage of HB6. (¶ 64.)

Because allegations of the requisite “manipulative market activity” by the Exchange Act



                                                -51-
Defendants are absent here, the scheme liability claim must be dismissed. Cannavest, 307 F.

Supp. 3d at 251-52 (“insist[ing] on proof of market activity” by defendants and rejecting Rule

10b-5(a) and (c) claims “[b]ecause Plaintiffs have not pled facts demonstrating manipulative

market activity”).

       B.      The Complaint Fails To Plead Reliance On Any Allegedly Deceptive
               Conduct.

       The scheme liability claim fails for another reason: the Complaint fails to plead reliance.

“Reliance by the plaintiff upon the defendant’s deceptive acts is an essential element of the

§ 10(b) private cause of action.” Stoneridge Inv. Partners, LLC v. Sci.-Atlanta, 552 U.S. 148,

159 (2008). Reliance ensures that, for liability to arise, the requisite causal connection exists

between a defendant’s actions and a plaintiff’s injury. Id. In other words, reliance is tied to

causation, “leading to the inquiry whether respondents’ acts were immediate or remote to the

injury.” Id. at 160. In Stoneridge, the Supreme Court rejected plaintiffs’ scheme liability

argument for lack of reliance, concluding that the respondents’ “deceptive acts, which were not

disclosed to the investing public [were] too remote to satisfy the requirement of reliance.” Id. at

161. The Court rejected the petitioner’s argument that, in an efficient market, investors rely not

only upon the public statements relating to a security but also upon the underlying activities

those statements reflect, holding that “[w]ere this concept of reliance to be adopted, the implied

cause of action would reach the whole marketplace in which the issuing company does business;

and there is no authority for this rule.” Id. at 160.

       In the wake of Stoneridge, courts in this Circuit—including this Court—reject scheme

liability claims where reliance is lacking. See Nat’l Century II, 553 F. Supp. 2d at 911

(dismissing claims under Rule 10b-5(a) & (c) “because the complaints do not allege that the

moving Defendants engaged in deceptive conduct on which Plaintiffs relied in purchasing


                                                 -52-
[company’s] stock”); Gordon v. Elite Consulting Grp. L.L.C., 2009 WL 4042911, at *6 (E.D.

Mich. Nov. 19, 2009) (holding defendant was entitled to dismissal of scheme liability claims

“absent factual allegations that plausibly support the requisite element[] of reliance”). Courts

across the country routinely do the same. See, e.g., Pac. Inv. Mgmt. Co. LLC v. Mayer Brown

LLP, 603 F.3d 144, 159 (2d Cir. 2010) (rejecting scheme liability where “plaintiffs did not rely

on any of [defendant’s] work on the fraudulent loan transactions”); In re Smith Barney Transfer

Agent Litig., 884 F. Supp. 2d 152, 162 (S.D.N.Y. 2012) (“Plaintiffs do not allege that any

plaintiff bought or sold shares based on . . . specific deceptive conduct. And as the requisite

reliance cannot be shown, Defendants have no liability to Plaintiffs”); Katz v. Image Innovations

Holdings, Inc., 542 F. Supp. 2d 269, 272 (S.D.N.Y. 2008) (dismissing scheme liability claim

where “Complaint does not explain how the alleged actions of these defendants were relied upon

by purchasers of Image stock during the relevant period”); Siegmund v. Xuelian Bian, 2018 WL

1611197, at *9 (S.D. Fla. Apr. 2, 2018) (plaintiff did not “carr[y] his heavy burden in showing

that [he] in fact relied upon [defendant’s] own deceptive conduct”).

        Where the alleged scheme is not publicly disclosed, there can be no reliance. See, e.g., In

re Nature’s Sunshine Prod. Sec. Litig., 2008 WL 4442150, at *4 (D. Utah Sept. 23, 2008)

(rejecting scheme liability claims where defendants “were alleged to have been involved in the

fraudulent activity” but “because their conduct was not publicly disclosed, there could be no

reliance”). That is because, “[a]bsent disclosure of [a defendant’s deceptive] conduct to the

public, there is no basis . . . to . . . conclude that the market took the deceptive conduct into

account in pricing a security” or that plaintiffs “relied on that conduct when buying or selling the

security.” Hawaii Ironworkers, 296 F.R.D. at 555. Courts therefore dismiss scheme liability

claims for failure to plead reliance where, as here, the alleged scheme was not disclosed to the



                                                 -53-
public. See, e.g., Cosby v. KPMG, LLP, 2018 WL 3723712, at *9 (E.D. Tenn. Aug. 2, 2018)

(agreeing that “plaintiff had no knowledge of defendant’s conduct and thus cannot show that

they relied on defendant’s actions”); In re DVI, Inc. Sec. Litig., 919 F. Supp. 2d 498, 507–08

(E.D. Pa. 2013) (“The record does not establish that the Plaintiff investors knew about or

otherwise relied on any conduct or statements made by [defendant] at the time that they

purchased or sold DVI’s securities. The record shows the opposite—that none of the alleged

conduct was publicly disclosed and attributed to [defendant].”); In re Refco, Inc. Sec. Litig., 609

F. Supp. 2d 304, 317-18 (S.D.N.Y. 2009) (holding plaintiffs could not “show reliance upon any

of respondents’ actions” where those “acts were not communicated to the public”); Thomas H.

Lee Equity Fund V, L.P. v. Mayer Brown, Rowe & Maw LLP, 612 F. Supp. 2d 267, 279

(S.D.N.Y. 2009) (“[N]o liability can attach because plaintiffs could not have relied on their

conduct, just as the plaintiffs in Stoneridge did not know of, and thus could not have relied on,

the transactions in that case.”); Affco Invs. 2001, L.L.C. v. Proskauer Rose, L.L.P., 625 F.3d 185,

195 (5th Cir. 2010) (affirming dismissal where reliance for scheme liability not pleaded).

       Here, it is undisputed that there was no public disclosure of the alleged deceptive conduct

until after the class period. Not a single one of the allegedly false and misleading statements

Plaintiffs point to mention anything about purported bribery. (See ¶¶ 95-138.) Indeed, the

gravamen of Plaintiffs’ 10b-5(b) claim is that the scheme was not disclosed to the public. The

Complaint is replete with allegations that the scheme was “secret” and “concealed.” (E.g., ¶ 3

(“Unbeknownst to investors, FirstEnergy spent tens of millions of dollars on an unprecedented

multi-year scheme”); ¶ 64 (“FirstEnegy . . . secretly poured millions into the Bailout Scheme”);

¶ 67 (listing various contributions FirstEnergy allegedly made and “concealed throughout the

Class Period”); ¶ 70 (alleging FirstEnergy “illegally concealed contributions”); ¶ 82 (alleging



                                                -54-
FirstEnergy paid millions “into the Bailout Scheme (which defendants concealed throughout the

Class Period)”).) According to Plaintiffs, the supposed scheme was not “revealed” until July

2020, after the end of the putative class period. (¶¶ 8, 138.)

       Plaintiffs do not, and cannot, allege that they knew about or relied upon any actions by

any Defendant in connection with the purported bribery scheme. Allegations that defendants

covered up any such scheme or intended any of their actions to result in financial benefit are

insufficient to show reliance. See Menaldi II, 277 F. Supp. 3d at 518-19 (rejecting scheme

liability when complaint “fail[ed] to allege that investors knew of, or relied upon, [defendant’s]

attempt to cover up his alleged self-dealing. The mere fact that [defendant] tried to avoid

detection by the authorities does not transform bribery into securities fraud.”); Pugh, 521 F.3d at

697 (affirming dismissal where there was “no allegation that . . . investors were ever informed

of” defendants’ actions; defendants “may have foreseen (or even intended) that the . . . scheme

would result in improper revenue . . ., which would eventually be reflected in Tribune’s revenues

and finally published in its financial statements” but that is “too remote to establish primary

liability”). Because Plaintiffs could not have relied upon the undisclosed actions of the

Exchange Act Defendants, the scheme liability claims must be dismissed.

       C.      The Complaint Fails To Plead With Particularity That The Alleged
               Underlying Acts Were Inherently Deceptive.

       As discussed above, see supra at 29-30, to state a claim for scheme liability, Plaintiffs

must allege that the Exchange Act Defendants engaged in conduct that was “in itself deceptive.”

Nat’l Century II, 553 F. Supp. 2d at 909. It is not enough to allege that defendants “simply

engag[ed] in non-deceptive conduct that supports an overall deceptive scheme.” Id. Put another

way, “scheme liability requires proof of participation in an illegitimate, sham, or inherently

deceptive transaction where the defendant’s conduct or role has the purpose and effect of


                                                -55-
creating a false appearance.” S.E.C. v. St. Anselm Expl. Co., 936 F. Supp. 2d 1281, 1299 (D.

Colo. 2013).

       Where a complaint does not allege with particularity that defendants engaged in any

inherently deceptive acts, a claim for scheme liability fails. See, e.g., Nat’l Century II, 553 F.

Supp. 2d at 909 (dismissing claim against defendant “because he is not alleged to have engaged

in any deceptive conduct”); S.E.C. v. Goldstone, 952 F. Supp. 2d 1060, 1236 (D.N.M. 2013)

(“The fatal problem with the SEC’s allegations of scheme liability is that . . . none of the conduct

the SEC references in furtherance of the scheme is inherently deceptive”); Alstom, 406 F. Supp.

2d at 476–77 (rejecting scheme liability claim because “intentional underbidding of a contract is

not, in and of itself, fraudulent”); In re AT&T/DirecTV Now Sec. Litig., 480 F. Supp. 3d 507, 534

(S.D.N.Y. 2020) (no scheme liability where “the only relevant conduct is the setting of

aggressive sales goals, which is not inherently deceptive”); Parmalat, 376 F. Supp. 2d at 505 (no

scheme liability where the transactions at issue “were not shams” and did not “depend on any

fictions”); S.E.C. v. Lucent Techs., Inc., 610 F. Supp. 2d 342, 360-61 (D.N.J. 2009) (no scheme

liability where defendants gave “oral assurances of rights of return or pricing concessions in

connection with the sales,” because such conduct is “not inherently deceptive”).

       Narayan illustrates this. There, the SEC sued a company, TTR, and its CEO and CFO, as

well as an investment advisor, Narayan, who allegedly directed his clients to make high-risk

investments in TTR in return for millions of dollars in finder’s fees. 2017 WL 4652063, at *1.

As part of the “illegal kickback scheme,” the CEO and CFO allegedly paid Narayan “millions in

secret finder’s fees”; made “Ponzi-like” payments to investors; backdated documents; and

disguised payments to Narayan as “sham loans.” Id. at *7-9. The court held that those

allegations were not sufficient to state a claim for scheme liability against the CEO and the CFO,



                                                -56-
because the acts were not “independently deceptive to investors,” and instead, “appear[ed] to

have been intended to keep Narayan’s misconduct covered up.” Id. at *10. Because the SEC did

not sufficiently allege that the CEO and CFO performed any act that deceived investors, the

scheme liability claims against the CEO and CFO failed.

       The scheme liability claim here likewise fails, because none of the Defendants’ alleged

acts were inherently deceptive. The Complaint contains numerous allegations about the conduct

of non-parties, but the primary alleged conduct by the Exchange Act Defendants here was

contributing money to 501(c)(4) organizations such as Partners for Progress and Generation

Now. (¶ 65.) Those actions, “are not, standing alone, fraudulent or indicative of improper

actions.” Narayan, 2017 WL 4652063, at *10, as there is nothing inherently deceptive about

contributing to a 501(c)(4) organization. As discussed in section XX, corporations have a right,

protected by the First Amendment, to participate in public debate, including by underwriting

speech by a 501(c)(4).

       Plaintiffs’ allegations that the Exchange Act Defendants’ contributions were secret,

undisclosed, or “covered up” do not save their scheme lability claim. Even if it could be

considered “deceptive” not to have disclosed the contributions, those are the same allegations

that form the basis of the misstatement claim under 10b-5(b), and thus cannot support the scheme

liability claim. See Gordon v. Royal Palm Real Est. Inv. Fund I, 2020 WL 2836312, at *1 (E.D.

Mich. May 31, 2020); Narayan, 2017 WL 4652063, at *8 (“a scheme to cover up an omission is

simply an omission”); Lucent Techs., Inc., 610 F. Supp. 2d at 360–61 (no scheme liability when

the alleged “deception . . . case arose from the failure to disclose the ‘real terms’ of the deal,

which is nothing more than a reiteration of the misrepresentations and omissions that underlie




                                                 -57-
plaintiffs [sic] disclosure claim”). Because Plaintiffs fail to plead a deceptive act, separate from

the alleged misstatements, their scheme liability claim must be dismissed.

         D.       The Complaint Fails To Plead With Particularity That Every Exchange Act
                  Defendant Engaged In An Inherently Deceptive Act

         The Complaint also fails to state a claim under Rule 10b-5(a) and (c) as to those

Exchange Act Defendants who are not alleged with particularity to have participated in the

alleged scheme. Nat’l Century II, 553 F. Supp. 2d at 911 (“Plaintiffs’ claims under Rule 10b-

5(a) & (c) are dismissed because the complaints do not allege that the moving Defendants

engaged in deceptive conduct on which Plaintiffs relied in purchasing e-MedSoft stock.”); KV

Pharm. Co., 679 F.3d at 986 (agreeing with the district court that “plaintiffs fail[ed] to allege

with sufficient particularity” how certain individuals defendants “were actually involved” and

thus “fail[ed] to state claims under Rule 10b-5(a) and (c)”); Alstom, 406 F. Supp. 2d at 474

(dismissing scheme liability claims against certain defendants as to whom the complaint failed to

plead misstatement liability). This includes defendants Taylor, Strah and Pearson.

         Taylor: There are no allegations about Taylor’s supposed participation in a scheme. He

         is not mentioned in the “Defendants’ Direct Participation in the Bailout Scheme” section

         of the Complaint. (¶¶ 219-30.) The only allegation about his activity is the signing of

         SEC filings that supposedly contained misstatements. (¶¶ 95-96.) That is not enough.

         See, e.g., Nat’l Century II, 553 F. Supp. 2d at 910 (finding plaintiff’s allegations

         insufficient under Rule 10b-5(a) and (c) to state a claim against the company’s founder

         because it was someone else “who allegedly committed the deceptive acts”). 15



         15
            It also is insufficient to plead scienter as to Taylor with respect to any alleged misstatement liability
under Rule 10b-5(b). See supra at 41 n.12. Furthermore, as to Pearson, the Complaint acknowledges that he retired
in April 2019 (¶ 29), after which point he could face no liability and the Complaint could plead no facts showing
scienter as to him.

                                                        -58-
       Strah and Pearson: The allegations are likewise insufficient as to Pearson and Strah, each

       of whom is also alleged to have signed SEC filings and the requisite SOX certification.

       (E.g., ¶¶ 225-26.) See, e.g., Nat’l Century II, 553 F. Supp. 2d at 910; see also Kelly, 817

       F. Supp. 2d at 344 (holding that a company’s “typical” business practice is not

       “inherently deceptive” as is required to sufficiently allege scheme liability). The

       Complaint also alleges in conclusory fashion that Pearson was “directly involved and

       intimately familiar with key aspects of the Bailout Scheme” (¶ 225), and that Pearson and

       Strah “reviewed and determined the Company’s accounting for its payment and political

       contributions” (¶¶ 225-26), but pleading participation in a scheme requires particularized

       facts. See Nat’l Century I, 2006 WL 469468, at *21 (holding that Rule 9(b)’s

       particularity requirement applies to Rule 10b-5(a) and (c) claims).

V.     THE COMPLAINT FAILS TO STATE A CLAIM FOR MISSTATEMENT
       LIABILITY.

       As discussed in sections I-III, supra at 9-48, the Complaint fails to plead the falsity of

any statement because it fails to plead the underlying “illegal acts” with particularity and because

it fails to plead scienter. The Complaint further fails to state a claim for misstatement liability

because it fails to plead falsity as to statements of opinion, fails to plead an actionable omission,

and because statements about codes of conduct are not actionable.

       A.      The Complaint Fails To Plead Falsity As To Statements Of Opinion.

       Most of the alleged misstatements were opinions and therefore cannot serve as the basis

for any of Plaintiffs’ claims under §§ 10(b), 11 or 12(a)(2). An opinion can give rise to liability

under the securities laws only if the speaker did not hold the belief she professed or if she had in

her possession a specific item of contradictory information that a reasonable person would have

thought undercut the opinion so strongly that the speaker knew it was misleading not to disclose


                                                 -59-
that information. Omnicare, Inc. v. Laborers Dist. Council Const. Indus. Pension Fund, 575

U.S. 175, 183-97 (2015) (“Omnicare III”). 16 “That is no small task for an investor” to plead, id.

at 194, and the Complaint falls short.

         An opinion statement expresses “a belief[,] a view, or a sentiment which the mind forms

of persons or things.” Id. at 183. Although adding qualifiers like “I believe” or “I think” can

transform a factual statement into an opinion, such qualifiers are not necessary for a statement to

be an expression of opinion, and the form of the statement is not determinative of whether it is an

opinion. See, e.g., In re Dynagas LNG Partners LP Sec. Litig., 2020 WL 6947521, at *13

(S.D.N.Y. Nov. 25, 2020) (“[T]he inclusion or exclusion of such language is never dispositive;

the statements must be analyzed in context.”). Instead, the “[m]ost important” feature of an

opinion is that it does not “express[] certainty,” but rather “rest[s] on grounds insufficient for

complete demonstration.” Omnicare III, 575 U.S. at 183; Conagra Brands, 495 F. Supp. 3d at

649 (rejecting argument that statements were not opinions because they did “not contain

qualifiers such as ‘I think’ or ‘I believe’” and explaining that a statement is an opinion if its

“content” does not “express certainty”). The Complaint attacks a wide range of opinion

statements, including:

         •    Assessments of Compliance Efforts, like the statement that FirstEnergy

              “[e]ndeavor[s] to comply with both the letter and spirit of all applicable U.S. and

              foreign laws, rules and regulations.” (¶ 107, see also, e.g., ¶¶ 97-98 (similar); ¶ 111

              (“political contributions and expenditures . . . are legally permissible and in the best



         16
            The two circuits to have expressly considered the question have concluded that Omnicare III applies to
§ 10(b) claims as well as to § 11 claims, which Omnicare III addressed. City of Dearborn Heights Act 345 Police &
Fire Ret. Sys. v. Align Tech., Inc., 856 F.3d 605, 614-15 (9th Cir. 2017); Tongue v. Sanofi, 816 F.3d 199, 209-10 (2d
Cir. 2016). Many other courts have applied Omnicare III to § 10(b) claims. E.g., Hampton v. root9B Techs., Inc.,
897 F.3d 1291, 1299 (10th Cir. 2018).

                                                        -60-
    interests of FirstEnergy”); ¶ 134 (“we have very good regulatory relationships in our

    jurisdiction”)). See Omnicare III, 575 U.S. at 179-80; Sofamor Danek Grp., 123 F.3d

    at 402 (“The legality of [the company’s] support for the non-profit foundation . . . was

    a matter of opinion[.]”).

•   Assessments of the Efficacy of Internal Controls, like management’s view that

    FirstEnergy’s “internal control over financial reporting was effective.” (¶ 99; see

    also, e.g., ¶ 100 (no changes that “are reasonably likely to materially affect” internal

    control over financial reporting); ¶ 102 (disclosure controls were “designed to ensure

    that material information” reached management).) See D.E. & J Ltd. P’ship v.

    Conaway, 284 F. Supp. 2d 719, 736 (E.D. Mich. 2003) (statement that “we maintain

    comprehensive systems of internal controls” was opinion); Dobina v. Weatherford

    Int’l Ltd., 909 F. Supp. 2d 228, 245-46 (S.D.N.Y. 2012) (statement that internal

    controls provided “reasonable assurance” about the reliability of financial reporting

    was a “statement of opinion”).

•   Statements About the Merits of HB6, like the statements that “Ohio’s nuclear power

    plants” have “significant benefits” (¶ 112), that zero-emission nuclear legislation “is

    the right thing to do” (¶ 115), and that HB6 “is good for customers” (¶ 128, see also,

    e.g., ¶ 113 (legislation could “have a positive impact on the nation’s electrical

    system”), ¶¶ 116-19, 123-26, 129-30 (nuclear facilities were important to employees,

    communities, the economy, and state and national energy systems); ¶ 121 (intent to

    “ensure” customers “have a stable, reliable power supply”)). See In re Ford Motor

    Co., Sec. Litig., 381 F.3d 563, 570-71 (6th Cir. 2004) (statements about interests of

    customers and corporate social responsibility were opinions).


                                        -61-
       •    Aspirational Statements, such as those expressing commitments to “good corporate

            governance” (¶¶ 104, 106-07), and the ambition to conduct business “transparently”

            (¶ 110). See Ford, 381 F.3d at 570-71; City of Pontiac, 865 F. Supp. 2d at 829

            (statements of commitments to quality, safety, and compliance were opinions).

       Under Omnicare III, a “statement of opinion is not misleading just because external facts

[later] show[ed] the opinion to be incorrect,” even assuming the opinions here could be deemed

“incorrect” in hindsight. 575 U.S. at 188. Instead, opinions are actionable only if not honestly

believed when made. The Complaint, however, pleads no specific facts showing that any

Defendant believed that any particular contribution was illegal, that FirstEnergy was not

complying with applicable laws and regulations, that FirstEnergy was not committed to “good”

corporate governance, that HB6 was bad public policy, or that internal controls were ineffective

at the time of the challenged statement. Likewise, the Complaint fails to allege particularized

facts showing that any Defendant committed bribery or any other underlying illegal act (or knew

about any such act), supra at 9-49, and thus cannot show that the challenged opinions lacked a

reasonable basis. Without that showing, the opinions are not actionable. Omnicare III, 575 U.S.

at 194 (“[A]n investor cannot state a claim by alleging only that an opinion was wrong; the

complaint must as well call into question the issuer’s basis for offering the opinion.”).

       B.      The Complaint Fails To Plead An Actionable Omission.

       Because Plaintiffs fail to plead with particularity that any Defendant engaged in bribery

(or other illegal conduct), supra at 9-24, they cannot allege that Defendants violated § 10(b) of

the Exchange Act, or §§ 11 or 12(a)(2) of the Securities Act, by not disclosing any underlying

illegal acts. (¶¶ 269, 292; ¶¶ 95-142.) A defendant cannot violate the securities laws by

“omitting” to disclose a fact that does not exist. See, e.g., Dailey, 551 F. App’x at 846 (“One

cannot disclose an event which has not . . . occurred.”); Zaluski, 527 F.3d at 575 (company “had
                                                -62-
no duty to disclose what it had not yet discovered or concluded”); see also Sanderson Farms,

944 F.3d at 465-66, Schiro, 438 F. Supp. 3d at 199; Menaldi I, 164 F. Supp. 3d at 578 (all cited

supra at 9-12).

       Moreover, the securities laws do not impose any “freestanding legal duty” to disclose

uncharged wrongdoing. In re Braskem S.A. Sec. Litig., 246 F. Supp. 3d 731, 752 (S.D.N.Y.

2017); Roeder v. Alpha Indus., Inc., 814 F.2d 22, 28 (1st Cir. 1987) (concluding that there was

no “duty to disclose the alleged illegal payments”); Zaluski, 527 F.3d at 574 (no duty to disclose

potential consequences of illegal payments in the absence of specific allegations of “internal

investigations and reports” attesting to knowledge). Rather, “[d]isclosure is required . . . only

when necessary to make . . . statements made, in the light of the circumstances under which they

were made, not misleading.” Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011).

The Complaint, however, fails to identify any statement that was rendered misleading by the

nondisclosure of the purported “scheme.”

       FirstEnergy’s generalized statements of compliance with regulations and policies (¶¶ 97-

98, 111, 133-34) are not rendered misleading by the nondisclosure of the supposed underlying

illegal acts. “[T]his Circuit’s precedent holds that a generic claim of legal compliance, absent

any specifics, does not form the basis for a misrepresentation actionable under Rule 10b-5 and

does not require the disclosure of allegedly illegal activities.” Dailey, 551 F. App’x at 849.

Moreover, because “aspirational statements concerning compliance with the law do not

guarantee that compliance will occur in every instance,” such statements are not rendered

misleading by the occurrence of illegal conduct. Banco Bradesco, 277 F. Supp. 3d at 658; see

also Bonaldi, 620 F. App’x at 489 (instances of noncompliance do not render statements of

corporate standards misleading because it is “not reasonable to interpret” such “statements as a



                                                -63-
guarantee” that corporate affiliates “would, in all instances, abide by the corporate standards and

protocols”).

       For the same reasons, FirstEnergy’s statements concerning its codes of conduct (¶¶ 104-

11), were not misleading. The Sixth Circuit has held that because “a code of conduct is not a

guarantee that a corporation will adhere to everything set forth in its code of conduct” or “an

assertion of objective fact,” but instead a “declaration of corporate aspirations,” statements in

such codes are “not actionable” as a matter of law. Bondali, 620 F. App’x at 490; see also In re

TransDigm Grp., Inc. Sec. Litig., 440 F. Supp. 3d 740, 766 (N.D. Ohio 2020) (same). This

makes sense: “There is an important difference between a company’s announcing rules

forbidding bribery and its factually representing that no officer has engaged in such forbidden

conduct.” Braskem S.A. Sec. Litig., 246 F. Supp. 3d at 756 (code of conduct was not actionable);

see also Ulbricht, 2020 WL 5517313, at *10 (same); Banco Bradesco, 277 F. Supp. 3d at 658

(same; citing Bonaldi).

       The statements about internal controls over financial reporting and disclosures (¶¶ 99-

100, 102) were not misleading, either. The Complaint never identifies any reporting deficiency

apart from the one FirstEnergy later uncovered and disclosed concerning the Randazzo payment.

(¶¶ 189-90.) But a single issue cannot show that representations of general effectiveness were

misleading. “Allegations that . . . controls must have been deficient because they may have

failed to detect some weaknesses in . . . financial reports or disclosures in some instances are not

sufficient.” Ulbricht, 2020 WL 5517313, at *10; see also Bonaldi, 620 F. App’x at 490 (“To the

extent the plaintiffs take issue with the efficiency or effectiveness of Yum’s monitoring system,

the plaintiffs raise a claim of corporate mismanagement, not investor deception.”); Banco




                                                -64-
Bradesco, 277 F. Supp. 3d at 648 (statements about effectiveness of controls are nonactionable

absent “guarantee” that the “controls will perform perfectly in every instance”).

         In addition, because the Randazzo payment was allegedly made “in early 2019” (¶ 190),

it cannot show that any prior statement about controls was misleading at the time it was made (or

that any Defendant knew that it was), see supra at 18-19. The Complaint has no facts showing

that before 2019 any Defendant had reason to believe that FirstEnergy’s internal controls were

deficient. See Forman v. Meridian Bioscience, Inc., 367 F. Supp. 3d 674, 693 (S.D. Ohio 2019)

(“The mere fact that Meridian disclosed a known deficiency in November 2017 does not, without

more, suggest that it knew about the deficiency prior to that disclosure.”).

         Having failed to specify affirmative statements allegedly rendered false by the non-

disclosure of alleged underlying acts, Plaintiffs attempt to establish a standalone duty to disclose.

But the putative source for a disclosure obligation—Items 303 of Regulation S-K, 17 C.F.R.

§ 229.04 (¶¶ 139-42, 298; see also ¶¶ 101-02) and Item 105, 17 C.F.R. § 229.105 (¶ 300)—gets

Plaintiffs nowhere. As courts across the country hold, “violations of Item 303 and Item 503 do

not create an independent duty to disclose that may give rise to liability under Rule 10b-5.”

Nardy v. Chipotle Mexican Grill, Inc., 2019 WL 3297467, at *9 (D. Colo. Mar. 29, 2019). 17

VI.      THE SECTION 12(A)(2) CLAIM AGAINST THE NON-MANAGEMENT
         DIRECTORS MUST BE DISMISSED BECAUSE THEY ARE NOT STATUTORY
         SELLERS.

         In addition to the lack of false statements or material omissions described above,

Plaintiffs’ claim under Section 12(a)(2) of the Securities Act against the current and former non-

management directors fails for an additional, independent reason: those directors are not proper


         17
            See also In re NVIDIA Corp. Sec. Litig., 768 F.3d 1046, 1056 (9th Cir. 2014) (“Item 303 does not create
a duty to disclose for purposes of Section 10(b) and Rule 10b-5.”); Carvelli v. Ocwen Fin. Corp., 934 F.3d 1307,
1331 (11th Cir. 2019) (rejecting argument that “a violation of Item 303 automatically gives rise to 10b-5 liability”);
Oran v. Stafford, 226 F.3d 275, 287 (3d Cir. 2000) (same).

                                                         -65-
defendants for that claim. 18 Section 12(a)(2) provides a right of action against a statutory

seller—i.e., a person who “offers or sells a security . . . by means of a prospectus” containing

misrepresentations. 15 U.S.C. § 77l(a)(2). Here, Plaintiffs have failed to allege that the outside

directors are “statutory sellers” sufficient to state a claim against them for violation of Section

12(a)(2). The sole allegation as to the non-management directors is that “[e]ach of the Director

Defendants signed the registration statement for the Offerings, and/or were named as directors in

the registration statements for the Offerings.” (¶ 281.) That is not enough, as this Court recently

concluded in a decision, later affirmed by the Sixth Circuit, that was consistent with three other

circuits’ decisions. 19 EveryWare, 175 F. Supp. 3d at 868-69 (holding that “Plaintiffs lack

standing to bring a Section 12(a)(2) claim against the Non-Management Director Defendants

because they have not alleged any facts to indicate that the Directors’ roles were ‘not the usual

one.’”), aff’d sub nom. IBEW Loc. No. 58 Annuity Fund v. EveryWare Glob., Inc., 849 F.3d 325

(6th Cir. 2017).

VII.     THE COMPLAINT FAILS TO STATE A CLAIM FOR CONTROL LIABILITY.

         Because the Complaint fails to state a claim for primary liability under § 10(b) of the

Exchange Act or §§ 11 or 12(a)(2) of the Securities Act, the secondary claims—under § 20(a) of

the Exchange Act (Count II) and § 15 of the Securities Act (Count V)—must be dismissed.

Without primary liability, there can be no secondary liability. IBEW Loc. No. 58 Annuity Fund,

849 F.3d at 328 (affirming dismissal).


         18
            These Defendants are: George M. Smart, Paul T. Addison, Michael J. Anderson, Steven J. Demetriou,
Julia L. Johnson, Donald T. Misheff, Thomas N. Mitchell, James F. O’Neil III, Christopher D. Pappas, Sandra
Pianalto, Luis A. Reyes, Jerry Sue Thornton, and Leslie M. Turner.
         19
            Other Circuits to have considered this issue have also rejected the assertion that the mere signing of a
registration statement suffices for statutory-seller status under Section 12(a)(2). E.g., Rosenzweig v. Azurix Corp.,
332 F.3d 854, 871 (5th Cir. 2003); Shaw v. Digital Equip. Corp., 82 F.3d 1194, 1216 (1st Cir. 1996), superseded by
statute on other grounds, 15 U.S.C. § 78u-4(b)(1, 2); Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d 628, 636 (3d Cir.
1989) (all cited and discussed at EveryWare, 175 F. Supp. 3d at 868-69).

                                                        -66-
                                      CONCLUSION

      For the foregoing reasons, the FirstEnergy Defendants respectfully submit that the

Complaint must be dismissed.

Dated: May 18, 2021                                 Respectfully submitted,

                                                    s/ Geoffrey J. Ritts
                                                    Geoffrey J. Ritts, Trial Attorney (0062603)
                                                    Robert S. Faxon (0059678)
                                                    JONES DAY
                                                    North Point
                                                    901 Lakeside Avenue
                                                    Cleveland, OH 44114.1190
                                                    Telephone: (216) 586-3939
                                                    Facsimile: (216) 579-0212
                                                    Email: gjritts@jonesday.com
                                                    Email: rfaxon@jonesday.com

                                                    Marjorie P. Duffy (0083452)
                                                    Jordan M. Baumann (0093844)
                                                    JONES DAY
                                                    325 John H. McConnell Boulevard, Suite 600
                                                    Columbus, OH 43215-2673
                                                    Telephone: (614) 469-3939
                                                    Facsimile: (614) 461-4198
                                                    Email: mpduffy@jonesday.com
                                                    Email: jbaumann@jonesday.com

                                                    Attorneys for Defendants
                                                    FirstEnergy Corp., James F. Pearson,
                                                    Steven E. Strah, K. Jon Taylor, Jason J.
                                                    Lisowski, George M. Smart, Paul T. Addison,
                                                    Michael J. Anderson, Steven J. Demetriou,
                                                    Julia L. Johnson, Donald T. Misheff, Thomas
                                                    N. Mitchell, James F. O’Neil III, Christopher
                                                    D. Pappas, Sandra Pianalto, Luis A. Reyes,
                                                    Jerry Sue Thornton, and Leslie M. Turner




                                             -67-
                                CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2021, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will notify all counsel of record.


                                                 s/ Geoffrey J. Ritts
                                                 Geoffrey J. Ritts, Trial Attorney (0062603)

                                                 One of the Attorneys for Defendants
                                                 FirstEnergy Corp., James F. Pearson,
                                                 Steven E. Strah, K. Jon Taylor, Jason J.
                                                 Lisowski, George M. Smart, Paul T. Addison,
                                                 Michael J. Anderson, Steven J. Demetriou,
                                                 Julia L. Johnson, Donald T. Misheff, Thomas
                                                 N. Mitchell, James F. O’Neil III, Christopher
                                                 D. Pappas, Sandra Pianalto, Luis A. Reyes,
                                                 Jerry Sue Thornton, and Leslie M. Turner
